 

Scoi;:i' 113/§ eyes

_ C'§giaj'o;*`i:’ofico

99-2'6_17 ~ . _ ~ " ` 545 li-`.ost 222od Strcet
` ' l ' ._ ‘ ("2!6} 22`§.‘}»85[3

" - _- f ' _ ` Fa;s: l_Z lo] 289»?§32"7

e'nlail: smoy-t-zr(§§}cityol"c'tlcl`;ci.,com

R_eference: take Stewart_ EP.D Shro.oting investigation Team _Report

EPD' incident #17~01820 / 03-13-2(.`!17

l have reviewed the Shooting lovestigation Team Report end concur with the findings l find no
violations of Euc|icl Police Department P`o|icy & Pr'ocedures and/or Rules & Regulations as it
pertains to the use of force,'to*inciud.e the use of deadiyforce.

The only Policy t&'i?’rc;»cedure- violation that occurred during this tragic incident was the non-
activation of the |Vio.l:)ile Dash Cameria systems ia both marked EPD police vehicles directly
involved in this incident l\|.eithe-r P.O. i\/|. Rhodes` #39 (ca.r #Z.D) or P..O. L. Cata|ani #4`7 (ca'r #1)
manuaiiy activated their iviobil-e Dash Carnera systems prior t.o. approaching l.ul<e Stewart's
automobile on this suspicious vehicle cail.

i_`uc|id Po|ice Department Poiicy/Procedore #¢i¢iO -"Mobiie Video; section Xll`|, section C. states
the following

The mobiie video system Wiii be used during oil enforcement and investigative
contacts when those contacts ore in sufficient proximity to the poiice vehicle to obtain
sound and video. The system maybe used to provide audio recordings of officer
contacts in circumstances that do not permit video recording

Both officers Would have had to have activated the systems manually as neither had activated
their overhead lights "i‘he activation oithe overhead lights Will automaticai|y activatethe
camera system,_ assuming the system is Working p.roperiy. The decision to not activate the
overhead lights in this type of situation Was a sound, tactic.ai and practical decisiori, as these
iights can startle and alarm those ”passed-out” at the wheel and cause them to iurch forward
and/or to acceierate dangerously out of cootrol. This is a common practice and it is a good
Saiety practice '

1

EUCLID DOC 1125

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 2 Of 83. Page|D #Z 2480

For a number of reasons the manual activation oi the l\/iobile Dash Carnera system by members
of the i£uciid Police Departrnent has not been the common practice on caiis such as this To
activate the system manually, the user must consciously remember to switch the system to the
”recorci” position vehile directing their'attention toward vvhatever object and/or person{s) they -
are going to address lt has become apparent, that most members oithis police department
are/vvere unaware of the required inanual activation of the system, particulariy in situations
dealing With calls for service pertaining to suspicious automobiles l had to review policy &
i>rocedure #440 to reacquaint rnysehc vvit'h ail of the particulars Additi`onaily, prior to this
incident our fieet of i\/|'o|:)iie Dash Carneras were not Wor-king properly on a regular basis _
hilemhers of the Euclfid i’olice Departrnent had little confidence €hat the systems vvould record
and/or downl`oad video on a consistent basis \i\iii:hout an iri-house tech support employee this
became more and more of a problem `\i\iith the help of subcontracted as needed tech
support this situation has since been mitigated loot eiirninated}.

in order to make the members oithe Eucl_i_d ifolice Departrnent aware and compiiant vvith
Policy & P'roceciure #Ji»iu, l have directed Training supervision iwt. |\/i. Houserto make all of the
members of the Euclici Police Uepartrnent aware_o? #440, section i<li|, section C. Th'is Will be
accomplished by ali members signing of-'i on a document acknowledging that they reviewed
those sections l

Scott l\/ieyer
Chiei of Po|ice s'“’”""”i§
' iii

2

EUCLID DOC 1126

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 3 Of 83. Page|D #Z 2481

To: Chief Scott Meyer 03/28117
Fr: l-_t. Mitch Houser
Re: Luke Stewart EPD Shootin_g investigation Tean'i Repor-'t

|nciclent 17-01820: Niarch 13_, 2017

 

The Shoo‘ting investigation ?eam has concluded the examination of incident 17»-1&20, in which Ptl. Matthew
Rhodes #39 shot and killed Lui<e Stewart shortly alter encountering Stewart on a suspicious vehicle
investigati,o'n.on March 13“‘, 201?. The following is the investigation repert:

Narrative

l reviewed both the Attornev Gene'ral BC| Pr.osecutor’s Summ'ary report and the Euclicl Poiice Depa'rtrnent
De'te'ctive Boreeu’s parallel investigation Both reports coincide with one another end no facts are in dispute
between those two reports

At 065'1 hrs on l\/|arch 13"“, 2017, Chagrin Vailev. Dispatch received a telephone complaint of an occupied
suspicious vehicle idiing in front of 21891 South' Lalie 1Shore Bivd.. Unitorrned Patro| Grficers Niatthew Rhodes'
#39 and louis Catalani #¢17 were dispatched _to the cali. Cat-alani arrived first and pulled his cruiser behind the
suspicious vehicle a black l-londa. Catalanl determined that the vehicle was occupied try one male', who
appeared to be asleep or passed out behind the-Wheel. That male, and sole occupant of the l.~ioric|a, wasiater
identified as Nir- Luke Stewert. Rhod_es arrived next and after a brief discussion with Cataiani, decided to place
his vehicle in front of the l-londa so that the potentially impaired Stewart would not be able to drive off and
jeopardize either himself or the public

30th Rh:odes' and Catalani's marked cruisers Were equipped with mobile video camera systems Neither
Cifficer activated his overhead lights, nor did they manually turn on their ca mera_s or remote microphones
during this incident

At`ter the cruisers were strategically placed, Catalani positioned himself by the driver’s door, with Rhodes at
the passenger door. Catalani knocked on the Honda's window and woke up Stewart, who was reclining in the
driver"s seat Catalani waved at Stewa rt, who waved back at Catalani. Rhocles heard Si:ewart sav the word,
“po|ice” along with something else he could not understand Stewart then started the car end reached to put
the car in g-ear. Catalani began velling, ”No, no, no, stop, stop,. stop” at Stewart. Cata|ani reached into the
opened driver's door of the Honda and physically struggle-d with Si:ewart in order to prevent him from getting
the car into gear. Catalani also tried to pull Stewart out of the Honcfa. lihodes partially entered the car from
the passenger side and also straggled with S'tcwart in order to prevent him from placing the i~londa in gear.
Rhocles also tried to force Stewart out of the driver's side door by pushing on him

The iioncla began moving, in gear. Catalani stated that he moved alongside it in order not.to be run over. The
Honda struck Rhodes' cruiser on the pusher har. lt then made a left around tire cruiser and traveled
eastbound on South l_al<e $hore, towards fast 222“° Sireet. At the same time a white SLN was traveling

EUCLID DOC 1127f

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 4 Of 83. Page|D #Z 2482

We$i`.-i)ou-rid on Soui:h i_al<e Sii.ore Bl\/d, directly iowards Caieleni, Who ives §tili moving_a|ongside tire i{orzda. in
order to avoid being orushed between die Wiiite SUV and the Hondej Catela_ni pn\;eiceiiy disengaged lrorn
St.eweri;. Tl'ie Honda continued eastbound and then gauged et tire intersection of Soutl'i iel<esnore Blvd, and
East 222”” $treet before continuing northbound on East 222"‘“ Street. fit this point Cei;eleni became aware
that Rnod'es lives stiil inaid'e the i-|onda.

immediateiy after the onset oi the struggie inei<ie tile i'iorzda, iihodee Was partialiy inside the vehicles opened
front passenger done ns tire |-ionda began to move forward,. ii struck Riiodes' crui$er. This collision knocked
Rizodes off of hie feet and resuiteci Wi'tl'i Rhodes mostly inside of tile iionda on the ironi; passenger seat With
ins legs danglirig_outside of tile pes$enger door, Stewart placed tire car into reverse and Created distance
between die i-ionda and the cruiser and then began to drive forward around the cruiser lino_des feared diet ii
lie tried to get out of tile ilonda ar that poini, ne Wouid' be crushed between the ilonde and nis own cruiser.
iiiiod.es pulled nis legs inside of the Honda ns it drove enetbound on Soutn take Siio-re Bivd., around and
eventually ease the eruisert

Rhocies eo ntinued to Struggie Witn Stewart in repeated attempts to piece the i~londe into park or neutra_i,
iinode§ punched and struck $tewert multiple times irl-his lia-zee end jew in order to gain physical en ntrel over
Stewart, but tire strikes Were ineffective Rnodes was a'bie to shift tire car into neutrel multiple times, ban
Stewart wires able to put ii beck into drive each time Ti‘iis continued as the car moved eastbound on South
i_ai<e Siiore Bli.fd1 towards fast 222““ Si;r-eet.

When Riiodee realizedt.hat the subject eontrol techniques and physical strikes Were ineffective ne deployed
his 'l“aser XZE in en attempt to discharge the probes into Stewert end gain control of Stewart and tire i~lor;de,
The "i'eser neal en initiai effect bet tile safety inns inadvertently bumped into tire "saie” position airer initial
deployment iiiiodes deacriveied the safety end repeatedly pressed die trigger, nut it did not have any
apparent effect on Stewert. Rlioc:les 1then strucir Stewart in the face Witi’i the Teser but Wes oan able to ial<e
control over the iionda briefly before Stewe rt got ii moving forward again

iiie violent struggle continued inside of the l~{ondn as it began to travel northbound on Etsst 222"d Sireei. Tiie
vehicle traveied over the curb end onto the sidewalk narrowiy missing a light pole ns the vehicie c:r.:)ni;lnur»zdj
lihodeswes being bounced around in$ide of the passenger compartment Riiodes bei§eved if the i~londe Were
to strike a light pole, another veliii:ie, or a building ne could be thrown through the Win€lsnieid., `E`iie iionda
t:ouid also Strike a pedestrian lim/ing exhausted his use~oi-iorce ontion$, iiiiodes decided to use his firearm to
innrnedizntei§ll stop Stewart by shooting Stewart Wi‘th his duty pisioi.

ilhocies drew'his departmentmissued duty pistol and shot SLeWai“r in die chesi:, Tne gunshot§ ned no apparent
ei”l:ec:i; on Siieweri. Stewart then swung et Fil’iodes \Nii:h his hand but R_iiodes avoided the Swing, Rliodes then
shot Stewart again from a dii“iere-n.t angle One round entered S'tewari:'s, neck and appeared to have an
immediate effect Stewert quicl<iy siopoed eli physical reei$;tan<;e and dumped over in the driver'$ Seet,
Riiodes stopped shooting and tile Hon_de came to rest on the tree ann et the corner of i\/iiiton revenue and
East 222"d Sireer. Tni$ ended tire uze~oi»forr:e egaine.t-S.tewart.

Oi;iicers lied been dispatched during rolf~eail and arrived truii:l<l\,r on $Cene, Rhodes Wes removed from the
immediate area by feilow Gii"icers. immediate medicai attention was provided by reeponding Ofiic:ers and
Eu€fid Fire' Resr;ue was immediately i:al§ed for Si:ewert. Stewari; visas unresponsive and later declared deed et

EUCLID DOC 1128

CaS€Z 1217-CV-02122-JG DOC #Z 37-1 Filed: 07/06/18 5 Of 83. Page|D_#: 2483

`.. m _ __ . ..$

the hospita_i Ari autopsy roveaied that Stcwart had alfred as 3 result of the gunshots from ithodes. Rhodes Was -
aiso examirréd for any injuries and do serious ol'zys§cal En§trrios rivera observed

Tha tietz-active Bureau responded and secured the scene Clsier° Scott Moyor mario the determination to
_ request BCl takoox/@rtho scene and ultimately thc-investigation ot the ease ot deadly torco. Tho §PD Detecti\re
Bdreau conducted s psral|ei investigation

Tho EPD"Sh`ooting lnvr;stigation Tearn Was notified Citéet Moyor decided that the Sl?’s investigation and
subsequent report Wouid tie-conducted and tilod after BCi had conciuclcd their investigation

§gs,ai§ mont and training
ithodes stated that ha befioveci that he shot Stewart three times BCi’s investigation determined that Ri'iocies
had shot Stewart toor times BCE collected tour Soeet 9mm trager +l-" caliber spent bul§ot tasings from inside
the H-oodaz. 'l`hey W@ro ali forensicalf'y matched to Rhodes’ duty oistol. Four bullets swore recoveroti by BCI.
anoe were forcnsically matched Rhor;les’ duty pistoi. Orio bullet Was too deformed to determine en oxact

' match to Rhodes’ pistof, but showed corresponding characteristics to the other three bullets recovered and
examined

nn

The location or the tour spent casings indicate thwart ali four of the shots mere fired from ioside of tho Honl:;£a.
Tlre taser and gunshot Wounds to Stewart's body and bullet damagc~ to the interior otthe l-ionda indicate that
the taser and all tour gunshots tvch fired from the right side of Stewart, going right to left Tir;is is consistent
with Rhodes’ statement that he was fighting With Stswart from the passenger seat area Whiie SteWa-rt drove
t|':o l~'londa.

The duty pistol recovered from Rhodes Was a 9x39mm caiii;)or Giocl< model 1? semiautomatic pistol, s/h
WCBSAI. lt visas issued to Rhodes and initial§y t;ualiiied to OPO'TA Stanclards on 3*15~16 (A;:\o. A, B, C}. Rhodes
had most recenth qualified Wi'th that pistoi to QPGTA standards on 09~13-1`6 at irz~sorvice- training {A;)p, D).
During this in"sor».rice training1 Rhodes aiso successfully compietsd an EPD Use~ot~Force Written exam (Aop. §),
Rhocies Was subsequently issued, and qualified to OPO-TA standards With a 9x19mm caliber Glocl< modei 17
semi.~automatic pistoi, sin WCBSM, to roplscc thrz pistol seized during the iovcstigation (£\[:)t)d B].

Thc recovered buiiets, empty casings, and other omitted ammunition recovered from ithodes’ duty oisto|`were
ai| 9mm Luger caiiber$oeer 124gr Golci Dot Holio-W Poiot +P ammunition, Whii:h Was the deportmont~issueci
duty handgun ammunition at the time of the shooting {and currently is still tha department's issued duty
handgun ammunitiorz) lt should tie noted that l’§xl§mrn” caliber and ”Qmm tugor” caliber are different

na nies for the same caliber and con be used interchangeably in this report

During the shooting Rhodos was.corrying his back-up pistol, a Q>ciéirr:m caliber Giocl< modest 26 sami-automatic
pisto|, sin BCLKQO§. Rho<:§os had successfufiy qualified to DPOTA standards With that pistol on 8»30~16 dod
noon granted approval for carry by former Chiof Tom Bric|<man on 9~12~26 {Ap;). C, Pf}. The investigation
determined that this pistol had not been fired during the incident

The ’Faser used by lihodes and subsequently recovered during the investigation Was Tasor model i<?.€:i s/n
XOU@ZGGSI The Seriai numbers ot this dopfoyed cartridge and the sports cartridge recoverer dur eng the
_ 3

EUCLID DOC i129

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 6 Oi 83. PagelD #Z 2484

inves:iga:ion Wero- not recoroodi;>y BC§.. Tiioso co rtrii:lgos, however, Were comment with thom-2 issued by the
EPD for the X`ZQ "i“aser'. Ti'ie roi;ovorecl Tos@'r is owned logs the Eu€;lir,i P`olice Donartrnont and had been zigno€l
out by Riiooos at the beginning of his shii‘§ [A;;)p. G}. Rhodo§ had renewed Ta§or XZES qualification training on 3~
12»€}9 Wl'ii§e employed as o Poii€e Of‘f§cerwith tim i<ir’ciand Hiil$ Police Dooa'rtment and again on 2~3’.5»1{} Wnilo
serving in the Unii‘oi:i Statos Arn"i\/ {.f!innk _H, ii.

On 1~11€)-~17 Catalani had attended §n#sorvico §raining that ina§iided 3 hours oi Sui;)j`o::i. c:c)ni:rol toohnii:ioos (App.
1~1,2}. On 2~21-1?, R§iooo$otionded the same training inpo l<-J,Z)`. T¥iis irai`ning inclodec;i discus$ion of the
ruse-of-for€o continuum as ins'trnr:"tod by defensive ta-ctii:s training Gificor$ Paui Doyio ii 11 and George
Panagiotou #§oi inn attai:lzed continuum was copied directly from tide approved iosson o£on (App 1.)x

Summo\;y

Procoduro iii-141 i`A;:)p i\/ll~fz) Stat-EES that Wiien o patrol veni€ie is equipped With a mobiio video sysiorn, it small
be Li$ed by the Oi”iicor throughout tire tour of door ft is aiso to be used during oil investiga'rive contor:i$ l`\iiiiioi“i
these contacts are in sufficient ;:)ro)<imit~.gto inn police vehicle to obtain sound rand video i\|oither Ofiicor
utiiized their mobiie video sy$toms.

Physécai force was initialiy utilion in order to attempt to gain control over Siowari end stop the vei\ii:io from
moving This initial attempt Was unsuccessful and quickly ind to Stowar"t returning Rhodes’ parked cruiser With
Riiodes partialiy inside of the Hon-da. Tl’sis, in torn, §or:l to Rho<;ies Struggiing with Stewart insioe tiio moving
Honda as iii drove oi’f on Sou'th wire Shoro Bivo,

Suhjei:i: control tactics, pny$.icai striking to inn hood and farre, and Tasor riop£oyrnoni iii/oro oil i.insrio:ess'ini in
attempting to gain control over S'tewari and stop the Honcio. This ied to Rhod;es inside the i-ion'cia,
unros£rainod:, as Stowart drove Wildiy on and off of tito roadway iinooo&' immediate fears Wore ti“ia‘i: (l) o
crash Wouid eject him through the mino§iiielc§ and (2} that another motorist or pedestrian wou§cl be Struck by
the Honda. lien/ing expended oil of his avoil:ai:)lo lessori‘orc;@ options, Rhoclos decided it Was. nocossary to utilize
deadly force in order to gain control over §§tewa.rt and stop the immediate serious physicai and density §i”ireats'
to himselfand trio purina

Ti'ie Shooting investigation Tearn Conci`uc:los that in light o'itho multin§o threats posed by Stewart, Rhor:ie§’ use
of force did not vioiate any department oolir;y, proooduro, or Ciiief’s directive and Was within department
standards per Po§icy and Procoduro #43_9 (Apr) Nl-lz}.

Respoctiuli'i/ Su§)rnittoo,

1__,,@_:
,_,/,;,é;;.»:¢ g ;; l/§;_T ,,,,,, n
_<15»:/ nw »f i »

i;.§‘ Ni-itcl'l |~lousor
Shooi;ing investigation Teani Soporvisor

EUCLID DOC 1130

d 4¢'

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 7 Oi 83. PagelD #Z 2485

2017 Vchiclc COB A,C_rcnda

Dziily Agcnda:

08:00 - 08:30 ; Safcty Bric_ling & Use of `l"`oi'cc "l"cst
()8;30 - `l O:OO : Qualiii`tcations (l`"atrol Rif`lc, Han_tlg‘un, Shotgun)
10:00 » 16:00 : C_PT (VCQB/Forcc on Forcc/First Aid)

CPT Agcnd.a:

li]:OO - 10:l 5 : Corrccl tourniquct application [:Sclf leg and buddy arm using proximal
prcssurc]

lU:l 5 - l ] 200 : Ballistic demonstration / VCQB Thcory & Discussion [singlc pillor, stacking
pillars, front to back wi,ntiow, and Sidc windows]

ll:OO - l 1:30 : Pos`itional Drill [l: l hcadshot Standing, 2: 2 high chest crouch, 3: 3 high chest
knocling, 4L or 4R: 4 groin urban prone]

1 l :30 - 13:00 : Positi.on.ol Drill using VCQB exterior fundamentals ["alphahcl soup"] (dry fire
and lch firc, l and 2 trainees at a timc)

13:00 - 13:30 : .l"clon_y Trai”i"lc Stop demonstration using rear Ofcaz' and vehicle ballistics

1.3:30 - 16:00 : Forcc 011 Forcc o Fclony Trafiic Stop (:Shoot and Don't Shoot Sccnarios) &
G'unf`ight between two trainees using points of cover on Vchiclc, Sclt`-a.id/Hi"St-ald as needed upon
Sccna,rl_o completion (_toumiqtici)

 

.*..- J.__.._..

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 8 Of 83. Page|D #Z 2486

   
 

ij -'Y?-§“`\i»:`fiia'§ . 5.1;.=-‘1;1»*.€'1?…1 1 1'./'»/15»»1‘1'\~»‘¢:;' t w §§ z-;-z\'»:: w z 1119 ri;r»<’; at /)

Presentation Outiine

l. lntroduci:ion ~ Verbal Conflict is A Fact of Life
A. Goals of the Course and l.\/l.y Personal l\/lessaga to You

B. Don’t Let Your Training Tape Run Out
- 'l`rn;j‘ic Stop - Handling.za tough case . . . cold!

C. Become Less Depenclent Upo`n ”A'I‘M” (Asl<, Tell, l\/lal<e,) and
7 ~ nl\,/lor»a. Effactively .".l?rained._in.the Use.of Persuasion .(Rhe.torie),
When Safety is not Compromised

 

D. Subject Con’n'ol Options Discussed During this Presentation

- Snbject Control Options NOT Focused on During, this
? Pi‘esentation

§ E. Officer &: Citizen SAFETY FIRST

F. To Improve Morale at Home or Work: Riaise Expecta_tions and
rfell People Why!
~ ”A_Zl Paople by their Nature Desire to Krzow”~ Aristotle
~ Cornmanders Inten_t: E><plain Rationale ACtions/Decisionsi
- ”Audiences are made `notfound” ~ Aristotle

G. How to Get the l\/lost out of This Course? l

- Getting to the Carnegie Ha`ll of Coinmunic:ation- Practiee,
Practice, Practice!

l-I. Why Do ”Gua.rdians of the Peace” Fall Prey to ”Rope~A~Dope”
30 Easily?

- Be Awa.re of your Personal I""IOT BUTTONS!
~ The ”Role of l_lypervigilance in Rope-A-Dope”

COPYP.|GHT © 2014 Dolan Consu|ting Group, L.L.C. All rights reserved "Surviving Verba| Cor\fl`lct" is a registered trademark of Harry F'. 4
Dolan and cannot ha used without the express written permission of §-|arry ?'. Do|an

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 9 Of 83. Page|D #Z 2487

I. Always Asl< Yourseif the Veteran Corninunicators Overriding
Question

-:-- “]ust how important is all th.is?”

]. Pundainentals of Verbal Deflection

~ Empctin'zc ~ See the World through the eyes`ot the other
‘ ~/ Replay - ”Let rne start over, that didn’t come out right”

\/ Find common ground- ”I see Where you're Corning from,
lt you were a police officer What Would you do_if____ _ __
someone . .”

‘/ Provide people options - And, there is always a better
Option- alternatives and consequences
- Pm‘aphrase~»- l hear What you’re saying ”However..,”
\/ ”Don’t debate When you are trying to de-escalate."

v" ”Don't bring negative people horne With you for dinner"

II. How!'Guardians of the I’eace” Verbally De~escalate conflict -
Winning Coinrnunity Confidence and Trust

A.l iv Wnrning Sz'gris - Notice When verbal conflict is about to Change
your career and your lite and not in a good W'ay (l/Vhy can’t

people just act more like me ?)

B. The descendants of Valley Forge Want to know WHY

C. Connect to the yrisdorn ot Aristotle ~ Introducing Chief Dolan’s
Ri'zetoricnl Contt'nuum

D. ”Audiences are made not found” - Aristotle

(Graphic - The Rhetorical Continuuln: How Arz`stotie wouch cle~
escala.te people under tire influence)

COPYR|GHT © 2014 Doian Ccnsuiting Group, L,E..C. A|| rights reserved "Surviviog Verba| Confiict" is a registered trademark of Harry P. 5
Doian and cannot he used without lhE express Written permission of Harry P. Doian

" - _ § ' ' s .-; _ _ __
CaS€Z 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 10 Of 83. Pag€|D #Z 2488

 

- lithos
a Lo gos
Patlios

E. Rhetorical Continuurn
Saj%tyjirst - Establish the ground rules

» Situation l - Meet and Greet: Ethos~ Ethicai appeal~ Reason
for encounter

»/ Cre_do: Y_e__s, your appearance and Wll€:ii; you say
matters - You.r credibility (SU% ofpeoplc comply with our
requests and directives when we act and look the port of the
projessional)

(l) l\/lanage your moment of truth

(2) Froin the receiver’s point of vieW:
93% Delivery Style

(3) Human Unive`rsals ,

 

\/ Chief Dolan’s Language of Ti'z€ Street,l~`nllacy
(l) Beware of uniform courage
(2) Avoid creating officer jeopardy
(3) Cln'ef Dan Savages’ ”GRR'Concept”
(4) Get Ready ”Ojiccr ”Scl¢ftztorm.” is on Scerie”

- Situation ll - Explairr: Logos: Logical appeal ~ E><plain the
Why

\/ Cornrnanders lnteni: ~ Raise organizational morale by
telling people WHY and explaining the rationale your
decision, practice or policy.

CUPYR|GHT © 2014 Doian Consuiting Group, L.L.C. A|| rights reserved "Sur\iivirig Verbai Confiict” is a registered trademark of i-iarry P. 6
Do|an and cannot be used Witliout the express written permission of i'iarry PA Doiari

 

__ _ _ mg ._ ._ _______ ._ _ _ _ _ __ __ _ _
CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 110f83. Page|D #Z 2489

- Situation lll ~ Opti`ons: Pathos - Eiriotional appeal

\/ Wliat’s in this for ine? » Greed motivate-es
\/ Alternatives/ Consequences

*Aci; / Closirre -To comply or not comply the citizen’S
decision "

\/ Resolve the conflict

~/ Exhaustion of the Rhetori_cal Continuurri Sti"ategies

\/ Corifirm decision ll 7
"`§?"rsi<e éai'ar@ahéaiaaiaa `

\/ tactically disengage

n Tlie Rlzerorical Coniinumn in action
\/ E)<amples '

1. Traific Stops n
2. Calls for service

`IH. The Nuts and Bolts of Survivirig Verbal Conflict - What Worl<s!

A. » `How the Veteran Communicator Survives Verbal Conflict -
Read and Heecl

~ Listen - just don’t Waii; to taik; gather intel
\/ Bocly language - "Your body language shapes Who you
are.” ~ A_rny Cucldy

/ Watch for verbal and non-verl)al pres attack indicators
The body cari' lie

l. Beware your personal danger zone

2. interpersonal Ci,i.es _Precliciing l/iolenc.e» johnson

COPYR|GHT © 2014 Dolan Consu|ting Group, L.L.C. Ai! rights reserved. "Surviving \/erbai Conflict" is a registered trademark of H;irry P. 7
Dolan and cannot be used Without the express written permission oi Harry P, Dolan

 

 

 

_ t i,_ l . .
CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: O7/O /18 12 Of 83. Page|D #Z 2490

 

   

 

 

\/ Paraphrase - Retlect your understanding
\/ Practice Cliief Dolan's l/erl)al Contact and Cor)er
l. Contro.nt the bystander effect and group think

2 Sergeant Coftee Wants to talk youi

IV. More Tools for Your Tool Box

A. Understand ”Police Legitimacy" / Appreciate What the research
. .irevealg, . . _ . _. _. , _ . l

B. More with Tn)enty-foar - Erriploy Cliief Dolan’s 24 Hour Rule

C. Ttll - Talki_ng, texting or Typing under the influence of a
substance, anger, rage or grief

D. Apply the FAA sterile cockpit rule

E. Manage the crime Scene social

F. Dust'_em’_ off - Sgt. ]im Dolan- Lea_ve people understanding the
reason for your actions l

G. Debrief - Tlie importance of debriefings

V. You Too Can Survive Verbal Conflict

A. Take~A-Ways
B. Closing Cornments

CDPYR}GHT © 2014 00an Consu|tin_g Group, i.L.C. A|| rights reserved “Survivirig Verba| Conilict" is a registered trademark of Harry P. 8
Dolan and cannot be used without the express written permission of Harrv P. Dolan

f dr ' ' " § ,r-

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 13 Of 83. Page|D #Z 2491

»rr¢'¢lsrr

/
euci_i_o oisooveal‘eboso”f "

    

_,_¢- ~
i §._:,

CI'E`Y GE' .EE_FCL-l.l} ?{`FLECE DEPARTMENT § v f

rsasoi~ruci, hmw camacho sysrsiii

 

L POLI C‘i’ STA.T`EMENT: lt is thc put `icy of the Euclid Policc Dcparfrricrii that a -coraprchc:isiyc .
Pcrsohncl Ehi 31 Warnihg _S31stcm is aa essential component of good discipline in a Wcll managed \_h rigid ?1;1 1111
enforcement agency Pcrs`.uan-t to fbss policy the cstzhlisam“at cf ah Early. Wami.pg 3 is ncaaggary f _, __j,
for the procterch idcrifihcatioa of` potcr__itiai prob]wckl¢lm, ,-"1~ wl ore pci:sonhc:l “ gstrcss ,z¢`i‘§'“
and related emotional difficulties which cahbccoiri'c~ "~ .- ~ ' ' l . . »= v. to fhc profession oflaw , - ¢__:__
enforcement Thc Fcrsohncl £arly Warn_ing Systc_m rc.rcs oh the continuln`glv ¢, ' . - g___v pp c l ‘__:;r',-f-'
supcnfisciy staff to p:cccspt~problcmspvsh a mead of options abel rcihc_ct-ial actioii§t
Mmmbzht§=&#d oh”cr __cm_pl__oyccs healthy options for personal erred professional er wth. _ ._ 1 ___J___

   
  
 

  

 

it r"'"~ 1
Il. PURPOSE lisa purpose gotthis policy is tc prowdc these ' uscry,istah` cf’rhc Eucf"cl P-o'licc
Dapartrhcnt the tools moai for pl'oblis:n_cm§oy§ecs.or cmplog*ccs cxhihrkihg bcha'\mors resulting them

__}_____,____“_ guess earl roy enhanced affiliatith both job related had nch~jcb rclafcel, and prescott healthy options ito_

ph M'step"or deter thc progression of these problems smcssor-s or diEcultics bchre I?uc`y` res`uh;" 1a negative
consequences regarding mcploycc performance thc employee or fellow cmployccs, thc-c agency orthc
gca€n'al public _ ,

iu ocrlm'riorts-

Achcpahlc E:.rcat- a_ rccovhizeblc occhrahcc cfdcmohstraicd hchaiuor(s) cit permits of bcha_yi_orl;s)
cxl=u`hsi_ic'clby ah emploch that may require preemptive action 'by supcrtusiou in fhc batescst of both die
cmplo`yce aht`i fcc agency _ . . .

Pcct Support Pcrsohhci - a volunteer member of thc Euclid P_o'l_icc Dc@mmam whose cciacetich,
framqu or cicp.c_ijchcc pro -v_ide ah opporu.-miiy to counsel and reactor an employee hahri:ag problems
'c'i~ih work pertanhahcc. emotional ch&cuhics or sham

E-mploycc Assistancc Pr.og:rah:i-.- thc lifestyle EAP {LEAP) provides both employees end management
Ws’£h comprehensive counseling fraud management problcm_ soling tools Con;&ticnfiel cerviccs may be
mitian by p_~`-'" ' ‘ -. -- cit caa-hhc wet-h company l._D. # C_Ell had password_ lifestyle-cap

r_ cti-rr@ tied ‘i’:£lt ?:»??? \<'. irc ice en
§_ Mc_n_tal F§_calth Prot”cssioiia`i- aliccriscd pict`cs_sio counselor, psychotlicraprst,psycholov:st or
_ c l

/l Manegcmcht tofc a rc::ci::al to peat support personth mental hca-ith professional or E'dcstylc `E.-AP
“\_1/7 initiated by a lumbar of the supervisory staff Corcpliahce with this type of referral may bc veluptary
§ or man ry cadmg oh siuzatso ly ad tcircamstaai:cs. .
j liga Vd:i’al¢,{ pipe l girder
Pcr§orhacl Eat y Warmihg Systc {PEWS)- a time sensitive system designed to identify the early
mdicators 01 performance sighi:t'icani cmafioaal cycnis" anchor stress related problems rcqumg
command stsl‘ff to act upon critical ihfc-auoh m a positive uray$.p:x:iertc-dzscrplcec.-

  

 

EUCL|D_DISCOVERY_DDBU?

 

CaSe: 1217-CV-O2122-.]G DOC #: 37-1 Filed: 07/06/18 14 Of 83. Page|D #: 2492
cuetit>_olscovsav_oosos

il ‘StrhstaeceAhrisc,

j ,
B. `?EWS i?terr'iew: 'i`he esarrrinaticrr cf arises in a subordinates personal fife is a sensiti_:\,»'e issue and any
intervention orr the part ;oi` supervision resist arise horn an exhibited actionable went pi“`i”`eciieg
shriepiace perfomraacc or satt:ty. \hiowctrer when sepcrvisicn becomes aware oi` an actionable event
there is a clear duty to act in the best interest ci` the agency ‘i?ilher`i air actionable event or pattern of
noticeable events occur the supervisor shotiid meet with the snborciinatc tc: j __r_______ j _,{,,,l=
i. Detesr-nirie if the bchaviers exhibited may paint to the heed for counseling /;li';“/zyi; ~t>i"'- r"i~ 1»”»1 "” *‘ “‘”M;"‘
2v Gat`:her input from the employee to determine their level ot` cooperation M‘agrcéica the type ot»~
m assistatroc such as peer support persorrnci{Who may have enacted similar probieri‘s) ' c_ 3 ‘“S:___
kaHP'°r'éfé""EaT or rci:`crrai to a mental health professional err a tioh:ro=tary basis 3333 fi§,__,;,§,;_____,_____,
Set expectations aan check i:`or_“ nncicrstarrf"lrrr@ cf those expectations r1
4. Do_ot-_rmerrt the prowssh_)jtaj hat f_ l g;a?r'; 53 ____,_,3__3}__3§,?__
5 §oilow tip with the others at 1 _gtrlar intervals to measure progress
6;. ____§S_ahrrrrt a confidential mach rcportto the Chief of Poiioe for renders
}?.a“ 'I`h_e der::rstor1 tc make ain " referral to cennseling shall hat be made without transmitting

  

radeij l
a aid f
,»’

 

   
 
  
 

 

' _ _ l] being _o`_`i` their subordinates _ the agency Cornpliarnee
with this policy shall constitute a -` story hampshth of the sepcri_’ish '. " " america cva`lnationf t
'l`his policy shall act penalize atty sapenosor has unforsmn events that oscar with no prior accessible
event recommch by_ sapertusicri nor shaft this policy restrict the csc of ersclpnne when access ;_,th
correct ' - » ‘ -_s }~I.cwcver supervisors need to take an active role m developmwa
preemptive stratc531 to address eet:rorrahle events as they arise Cornponents of a arldcicl strategy should
_at£itil'tl€`ic' ‘:gf, !_;
1. A_rr understanding of the normal characteristics cf the police protessiona§ t f;;:£ w /’lll_~§ ;l:s:M {Ml'l;_:,::
2 Dcvcln_.prr_rcnt of peer support staff that can assist officers with professionai ricvpiophient £’/ ll
_3__. mmunicate regularly with cft?ieers" in a positive way Be approach-able

   

 

3plrr Farniliariz'e yourself hhs the Tcarcasses cfthe Gtty cf thread iranian Reso_uree Departrncet

chose st215 may press de practical strategies to effectrvciy manage peopic
5. §§ ace alma i.ft”estyle Employce Assrstaaee Psogra.rh ,rri th 1 health

 

` _§ third the rise asid_" rita .'1__ --
cfthc agency aa_tl the cmpicy®r>

 

     

ignorcd,cicie<ratcd or transferred the responsibility oi` others
7. Dcvclcp statistics to measure fha orr csa cs ofyotir strategy pertalrana to performance
prohiemsttch-relateé prehlems and maj oh tainted probierrrs ar rather amenable evelits.
S. Centicierrhahty rs a necessary entrapment to the success of this policy and th`e` medrhiltty of
` strpertusrorr e‘§`orts Any necessary disclosures shoals he non~spcerhc and general rrr share

EUCLID_D!SCOVERY_DC!QOB

n Ca§e:-lgl?-CV-bZlZZ-JG DOC #: 379-1 Filed: 07/096/-187 15 0f83. P3ge|D #: 2493
§33€333?3§ 3333
EWS 333 33333333‘§333
333333“§3333? " R3qu§r3js:

     

£:'WS improve 3 13te;';;:re?;3333 '31‘ data 333
§§ §§Htabifigy W§E£;FFF? EFF€ mcgrm§];}@n
33313£:333, .. ..
g 9 z y . Pwenodzc mon;toz';'ng of 1333
13 pro‘»{lc§lng 3333:'31301'33:31 3 3331
for tracking and 3133-33339 ngk nd_}€at@§'§
j-§ -

 

3 :Supewzsory judgment 333
" to zn’cervene

- 3333

23 symjzesez:rzg important 33t3 333 "
inform 333 refated t__o" individual

   
 

     

ij 1333 1333 Df'f**' -’~9 999"999€

 

33 333 333313313333 3333 F33‘~'33333 13 3333-333333\3)§ . 13"3)~`33. 33::@3 ;1=33133333_ 33

TH:E‘SYSTEM 3335* Nc:)T MAKE .....
333131333 - Rlsk Ma"nagement

 

.Z'TI.`S’ ONI._VA TUOL

 
  

Proactzve Screenzng, 3
_Te$nng, 333 “F¥tness
_Eva}ua?::ons” -

SUCCES`SH)‘£, RISK MANAGEMENT
` ¢?EQU!REHYOUR

KNOWLEDGE EXPERIENCE
DISCFU:`TION AND JUI"}GMENT

  

' 3 'Provide 3£ A33r333335 to '
Drsczp§ne (e. g. tr3§3é3g,

__ coil 33333§, CISD EAP etc. )
@§€ara*;,l_..s€=.mendofa,PHD. §3§‘:€3 Foun:§atiion 11 ©Kare3 L A\mmdoia, Ph.£}. Police F`c)ur:dation 12
l EUCL|D __DiSCOVERY 009'|'1

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 16 Of 83. Page|D #Z 2494

ihie Wsys in attach data can be utilized
tre]pl'r:illy, and building the program zic-
r:t_ir¢iiiigly. 'i`i-'iat is tire 'cisn*t know what
We .:isn“t knows Alsa, these are :numer»
mrs applicencms that may tie beneii<:ial_,
but if stats is nat entered correctly re-
sulting conclusions may be skewed he-
cerise garbage itt garbage nut
Uf-l»the-shel_f software programs arise
usually sat iep with standard,:festri_tes
arts reports `;ttithouglh nat eli the states
der-il pre-pi-'ssmrcmred separts st en
agency‘-s needs theyg tries ths'_u_sets_
stating paint-w -~-éitectisn and guidance
is reporting areas it night nat realize
existed Cansiciarrsbie cu.'t'ton'xizafi.on is
' else passiii_ie.

Some saffai“s_re packages alien the
user to link ts master nies other .Eles eff--

text, ski ct
of di=51
far mdlt`rple files and creates mate sen-

assist globe end a variety

   

trained tspas`rtci>ries. '-llis pragents eiss'

heirs t mtils-:,iti"-s.l items entering

ages lines reduces theneed-

ptnpe.r function if relevant behavior
or performance is nat brou@t into the
detainees zincnmeirted ann tracked, the
pragi:m Wi'll not sears its'ptirpase.
Sotne will nga hennig'nagative be~
.liai-“ior at pet“lot.inenr:e»_teisted issues is
wrong emi actually does disservice ta
employees in fact used imptnperiy, such
systems can be cs.iintet»,pnrpaseful end
e_v_en damagmg to &\e_argemza:hsa

 

EUCL| D__DlSCO\/ERY_DDQ‘E 3

tainted-lessee that taught them haw to

_ succeed Mstakes and other troubling

cisci_imstancc ‘, when identified s_t'rd reil

viewed pinpos€:fuily, carr be valuable

Miiiry people would not he Whei;e they
eis today-heel not someone pointed out
is firm where they could improve end
haw to avoid potential pitfalls

Ris'k management is a his"i paucity
&nsaghom law informant An iden~
situation and intervention program `i_s

 

 

assist eliciting sense central iii
who has access to spech §eatiires.
Ssvsi'al users can sunshine informs
son f documents transmit the agency ;
losing central of security aspects iat-
nart`zint to mtemal aliens and enter

native persant\el mfarma‘a`t`)ri nies . ;_

Finelly, and in same stays midst
ampertantly, nrc user shanlcl not
trees to be tax transmission istj:lmc_:}-~
cigy expert ts spar-site thesystem suc- :
cesst_a'lly. kendar-pnevtded naming
ens- teclitscsi assistance should be =
available .si'ts`! utilized Pre-puifchss`e`
researcn.hetps ensure existing cris~
trainers site mile ti`:> use this prcgi:sm
seal are attested tit ith its dynamics
end benefits

-Goncittsiszi

ii~“~.i;r agency can have the best sain 7
ware stepsng monell can hii;j»",, but l
if lt éisae`n’ t hastie clear end enfi`:ft;`ced
solicit maritime witnesses
resting and entry sequnemehts_,'
the system mill be substantially de
valued S`rtcli palm must faces sit t
sspewi`ssify accountability and re-
quite thth even annot nassonciuci:
end negative behavior be estates
far maskng purposes Sripei'visos'y _
cnmsistency is the key ts lessees ann

i:hi‘f fifth

a"’°-"""’”'"r-_-i-_»-_.

~.-"'f"r leaf iss-inns

~,- Hrfr\r'-Fa[lilims

 

s"" Fun:s'nn

Pnii' fe any _
Smariphn:.ie'
m' Bluewcirh

Bew`.cs

Mplausible timely
31 P?T

WWJMW°§EY/EW“FQ§‘: 3 '

 

sr

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 17 0183. Page|D #Z 2495

fictical correlation betweertl activity and oegativity. 'l'he
more police wreck one docs, the more there is tc 50 wrong
Ob\ricusly, the more arrests one makss, the more times one
will need tc use force Similei'ly, the more traffic-stops one
makes, the more fikety erie is tc be the subject of a com-
plaint 11501-king well and smart ca11 mitigate these ii`i:eli-
hoods bet it czm"f ei`mtinate them

But' 'wbat's the harm 1121 being such nw number (like
“'10”3 ticeshoids - other tbanthey are net very "'smart?"
f.`.'orrs`u'rler are pcrenh'al effects bn `Ofracer §§ future peri-
fcrmenc_e urban he;’she realizes that *1€"` 15 .fhe' 1111`111'.1_11
111res11011'1 fur p1acemem on the pcssible;prohlem dol ` `

 

se vrt`:11 have the natural effect of reducm°'numbers 101 r`e-
pqr‘tzhle force and W'ill at sqnie poird`;g `v"e_i ohim 115 the 115L
Of mcrae this 71's note desirable 0-11tcc_me_j 1311$__5 _thereis
some problem h:ith tJ:e7 type cf arrests being made

 

pertab`le: iorce; et least vrhen -he`khows hess setng `c`Ibse
to the threeh_c)i‘d of 111 biatt.lrcllly, whenhe eventually
gets csp5t;t net reporting reportable ferce_, he’ll be m

trouble admm:strahvely fur 1115 policy vidaf'mn- an tm- i 1 _

deshahl_e 01111_'0:_11¢: 1111 mtmd.

A ihfcd and most heading pasath as thst, ark erder
tc siEY 015 the iisf., O£iicer A W`ill hecorrce,heerrtabi or re-
instant period-slay when hej Shé bears tbé thrahold

0 rise force that rt;hs`i dehr`ciiel_y' shodld. have been used
’111;"5, 0£ course sen get the effi`¢_:e`r hurt cr lulled

lt can also recth fhe officer having 10 use more force
aimetely rn the incident .hemuse thehes‘ztrrlce or reluc~
inure 1::11'1_5es_1055 of tact:u::al edventags and a consequent
need |:o make up v17`1:1.1' that loss. These. are dangerous and
prcten&al§y disastrous bhtccmes- mesf mistreated

Of cmi-rsc m countless other areas cf peécrmar`ic_e and
beha:vior, file same l't'p`_e_$ of prehlems swainch exist just
Wil:hm_lt such highl7 stakes pritcrifiais. 'l'he law enforce-
men-f activity most likely t_o_ gmera_'te a mcleness cnm-
Plai"rit is isccirig a tref&c cit-edna Ar,\ e_EE_¢:er wire wants
te reduce rude-ness complsmts wall qtbckly ;reali2e that
reducticm of traffic stops and field-ts isihe easy Ex.

Most Agsncies’ “Sclution" is Not A
Sclut_ic`m

albany agencies have marred the probleb15 described
111 fh_e preceding sedian qu_`f have concluded fha way to
keep briggs simple abel easy (like ‘_"I,Q'”) snd__ to 11va the
cime associated prcbmsv is to use the raw-number
thr£hoid 10 identify his mcget officer theft to abalyz(=: ac-
tivity end other relevant det; to determine Whetber what
"sees'-ned” 10 be a potential problem h""reslly" a potert£ial
problem Ibere are two psobleurs w-':Eih this approach d

1112 first problem is that many of the vérong oHicers

sucLlc_D:sco\/Est_onm 5

11 ill be identifed I-Iighlv acti\ e officers 14 111 hit the b`st Wsy 100
often end lott century ucfficers may stay 05 the list entirely {unless
low actit- it\; dweshclds are made a separate trigger emteric)n]. Tbe
system might never identify the right subjects cf cencsm.

The second problem is that necessary inquiry by the early»
reaching system operative may include approaching the orficer

er officer s supervisor as an aid tc figuring out Whether or mt the f

orgamzsticn should be "alsmed” cr whether it is inst the effi-
car -s activity ievel causing the shushtg" numbers. I'his approach
will typically aleft the officer to the fact fined he',"'she" is h'iggermg
alarms _a._nd scm remit irrafi the machine outcomes decCr-ibed 111 the

     

' w’ ' f `_é _`qutry 15 unlikely tc he -used.

lived if it is only the dhEcer’ supervisorth rs approached many
hip wa; _;r`ir)t resis`i the iitge to tell the subject e§cer that
"L$re.cruecalhr:g butthatihe supervisor "tcl)dk`.-` care cftf" -“1`):1 favor
o_f fee q§§cm `

 

 

     

   

'"i"Pmtf marina cubic vista
1115 -wwwynlghandordemag hamm mt ~ g

  

 

 
 

 

 

gMAY 324-24 ED‘IS
FT WUFLTH EUNVEN'[?UN CTH

 

 

 

 

 

    

lmra ' - - - ‘
'_-E___e…g-W:‘$’EW'~ 11.'».1:11.` 1.1». .~.=. ~ ;==1~¢11;==.~..===

 

§§

   

 

 

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18

end slm:ild bc used Essy: timber ttu'eshulds smde he §xtcem§iy
misleading Sc), driving complaints could he tracked as a pen
ccntasge cf other officers driving complaints Why dccsOfficer

A get amphetth on regarding ddyiiig 32 percent more citth __

then any utter `of£icer'-’ Usm_g GPS leslmol§gy, §§ =dgeincy child
team every time ch officer dch- &; morse than 85 mph lt that cf-
sister ersu ton c freeway cfr m close pursuith a viii-lent felons 35
mph is desigcccusiy test and a matter of early chnlreg cement
l‘\/'.elu'cul.nl_' accidents and pursuits us a p§rc:§ht§age ct other
ui&icers numbex:s could he crushed using the same cadyer as
that above The same type cit data -cmild he used :tc> identify
broader ucg§mz§,tlehal issu§s in all of this Wc`cl<: the issks
targeted wculd he injury and death apedal]y cf innocent
peop§§ and also property damage lt am agency didn templcy
needed GPS technology , it cuu3§ shall evaluate “.tco good." re-
sponge times and available putsth data inclusting gthat dcng
hom incur campus

Case Pcstustuunce
Ey'ec\ though most agencies usc their systems primarlly to
back and identify betz_§yior §§ those starting the patrol tunc
tim they could and shcu§d he use_jd mrs broadly lrx'. rcsp§ct
to case pnrlcrmance, the agency could §sscss casesze}ected for
prosecution as § percerrl§¢u of c")_fhe_r u§cers§ numbers
Evelybody his cases rejected hist city ' ` -
selected 326 percent future h:e<§uendy thziu`ar_\y other uf&c`e:`s°'?
Wby' dc prosecutors h§té Oé’tices§§ scasesscmuch nurse than
§ davey tacha chief cthcc.€s` cas§§?- .nlth`ongh this ic;g:`:`§a. might
also be driven mostly by pa't:ol~acti:vxty it pci;dd_ involve dtlz§f`
)l;hcezs, d§tcchye_s_ end eyes c:::_iyic ' ' pennimel flying the
same analyses just merc&cned, an _§ag`§ncy do@d thank cases dis-'
crossed by ;udges §_s § pccccn‘mgc_ cf udiece£tice:'s nnmhci;fs` in
that regard
Ev:d§nc'e cudp'fessicuu coai}d and shosz also he locked at as
a percentage cf other othcets numl:»cis using the same analy-
sits false st a suppc§sctom finder _mc"lnd§s ah evidence-bused
judicial judges ethel ssa u§h`c¢:r .h§§ yiolvl:§_d. someone s cph§h_-
tuitioncl rights ch mte:nal munsth should he launched
lt is und§sstbod that judges make _istz ,_ _ _ y

 

 
 
   

teams cf ddnnstceem civil liability exposing _
mcch such “§ccusatiur:s" publicly and officially hud lith law
antoine-mers would just ignoz:_§ ttum.

lt rs sudl_y tru§ §t_hat_ §mcmy§ nlt_’lcers arguman of mudcnce

 

:fnssed. Officerc :shculd. k§ep {zp with W'hat-s happening to
their cases and he rec;_zdccd. to upon uninteth suppressions
as they do uses cf force Chur-t gist:'auls latent shea sys hclpwl
tn this seg§cd, hist obviously case industries should be hude

“’hc -cisl:s targeted m the case indictmth ucc cce scrutini-
donut rights viole£lur£ poor report Wridng, and Weulc court

room bech`mc)ny skills

 

' ' EUCLID_D!SCDVERY_DOBT 7

l mist-caution mcmods are selected unwisely eddy warning

systems cashthch produce dangerously cunnterspuf~
pcsehil conseun Einstein cccrtanded that "the true sign

of udall}g§nce n not.kmw’lcdue but h§a§umich_ M_c;~;=.t entity

winning systems ccc hot eery lungwattue. 'Th§y tend th idcrr
wfy. th`é-D wrong pEB¢EJ:s_, reduce positive activity and make of-
£ic§_cs less seize chic acid casing demand better_. '

 

  

test ych cumbst`s" tm this story mr vishng z
wyatt hmodqf§enc§gcnm

   

 

  

18 Of 83. Page|D #Z 2496

 

   

\:a».v»- ,-.-»¢

 

why : - - . t

 

 

 

a ir-

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 19 Of 83. Page|D #Z 2497

EUCL!D_D!SCOVERY_DDB‘| 9

 

issues and giddings

z_ .ccriz:im:sd

system in 'l 999; another 12 per-
cent wers_p'lar_'iriing to establish

such a program

target-agencies were more rikon
tried smaller agencies to use an
early warning system Amo_n_g
agent;`ies with il OGD ar more
sworn oft'lce_r-s, Ti'S percent had or
planned to have an eariy' warning
systems tarin 55 percth of agen-
Cies wide tierwegin 593 and 999
swor_r-i ofiic_:ers had or pierran to
haire Such aprog;rem.

i\lo standard§:ria\ie heed estah--
ilstied §crrjderltii§rlng which om-
oers shoiril_ci participate in ready

. g programs but mere is
§eheral agreern that a number
cit factors can hé|§ identify proh-
ierd officers citizen aorn_piaints

 

¢-

 

pwarer and vehicular accidents
D€il'.ir f_rn__rn the thtee'case‘snrdj

  

telloii_ring:

o ,lr'i spite of oorisiderahie tliher-

 

ptotiiern fishl orssignihaantlj

o Ea_ri_gg ' , .. systems encour-
age changes iri the behavior of
supervisors as well as of the
ids"ndhed indicate

n Earlj waer systems are
high-mimmanc. programs that

req`orre ongoing administrative
attention

A.. caveat is iri ordsrabout the tind-
ings retained here. 'Fi’ie laiieartih

1 cited _rr_ji § nonjber of
ways and each oitha eari_=j warn-
ing systems d:tit`!ied operates in the
context o_f a_ departm‘ nth larger

 

   

  
 

 

 

ability lt rs mgrqssihle to disei'l-tan-

gheat or ihs departments
criteria of. accouutahilitj horn that
of the early warning ptograrn

far_get aad.ia"`rtre: 5ta_te and local
law enforcement administrators
pianners, md policymakers
tesearchers, and educators

more.” Usahi_e responses ware received
sum 571 agencies, a response rate o'i`
59 percent Ths response rate was signifi-

cantiy higher for municipal agencies then

for sherih's departments

Appr'oximateiy orie-thurth {2'1' porcentj of
mg:surveyad agencies had an early starti-
iag =sjstem in 1§99. One-`riaif of these
systems had been created since 199¢§,
and stighdy more than otis-third had been

created since 1995 "i`hese data. combined t

with the amber cf agencies indicating
that a system was trains gplarmed (arml'_her
12 pea-cem), suggest that such systems will
spread rapidij in the next few years

Early warning systems ets more preva~
lent among municipal few enforcement

f agencies than among county sh“'¢sr'il’_i":~?I

'-depa.rtmants. '
'- r.,- - _ .‘:€~: -`
trash does adearij*raarhing
system worit?

E.ac_lj warning systems have three basic
phases: seisr:l:iori, intervean and
posi§£rtar‘irhntlhn mostitoring.

Selet_:ling officers for the program

No standards have been established

far identifying othcers for early warning
programs hot there is general agreement
shortt-die criteria that $houi:i influence
their selectiori.'Perfonparice indicators
that can help identify officers with pmi>-
1ema'tic behavior include citizen com~
pieints. {ir`e`anrr<`iisciharge and me~of-force
reports civil lltigation. resisti§g“arrsst
maiden'ts and high-speed pursuits and
vehicular daaiage." .

'Although a fair departments rely only on

citizen complaints in se§oc:t officers far _
hitcrsention, most use .a combination of
performance indicators_. Amon__g systems
that tamm in citizen complaints asst

[5? percent] rag-stine three compiaints in
ajng time`frame ge percent specify a
T.Z¥iricinth petitid} to identitisz an ott-`icer.

 

latewetiing with the oHEcer. 7the pri-
mary gc)a_i of early warning systems is l.'i)
change the behavior of individilai officers
who have been identl`had as having prob~
lematic performance records The basic
intervention strategy in\foivea a combine»
tide of deterrence and edi-ic."atioric ?he
theory of simple deterrence assumes that
america who are subject to intervention
will change their behavior in response to a
perceived direat of punishment.’ Gerrare]
\Uterrence assumes that oiii,cers not seb-
ject to the system wiil also change their
behavior to avoid pntsni‘ial punishment
r]':`.ariy naming systems also operate on
the assumption that training as part oi'
the intervention, can help oH`it:a-rs
improve tha-rr perEomance.

fn most system 152 percent], the initial
intervention germany consists of a review
by the DE`xceE`s immediate supervisor_
Almost` hatfof the responding agencies
{4'5 passed involve other camdein aaa
cars in counseling the officer A.lso, dress
systems frequently historic a bairdng.aiass
Eor' groups of ohiicers identified by the sys-
tem "[45 pei-bent rif survey respondents].

Munia_onng the oEii:er' s subsequem_
performance Naerly all [90 percemt) the
agencm_jther hare an early warning sys-
tem in place report that they modili:ir an
.oEicer-'s perme after the hdtiafl
intervention Si_ic;h monitoring is generally
informal and conducted by die.oi%`x:eris
immediate supen’r'sor. but some-depart-
ments have developed a formal process
of citrst termination and reporting
A-h-'host half ofthe.agi:iicies {47 percent)
monitor fha othst parbamrance for 35
months alter the initial hderventirm. Hali`
of the agencies indicate that dis.l=oiliowup
period is not specified and that officers
are monitored either conl;`muousiy or on

a shelby-case basis

EucLlo_olsco\/ERY_oosi 9

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 20 Of 83. Page|D #Z 2498

engaged 551 those t:tntxpatze;z£s they imth trasn551§ 511 apeci§ic iaw em"'srce~
perceived to he rehired ts the practical meat techniques stem naming about
pmblems of po§ic:e W{)c'.k, partic'hianly passiE)Ec-: discipline itt the future} er
incidth that often generate cem- whether certain aspects are mare effec~

piaifr;ts or esther pmhisrt:s -U&Ecers were five far cwtair§ types of ofti<:e:s.
disengaged, however, itt components
that they perceived to he at:stmct,
mora§ist`ic, or otherwise unreiawc§ th
practical aspects of police Wox?k.

the mm of early wm sys-

` texas an myervimrs.‘ fha miginal
design of this study did riot inducic~:
evaittating the impactoj“.thsse systeer

This study could hot determine the on supervisors Ncn,etheless. the quali-
mc:st effective aspects of immentinn taiive component of the research found
{e.g., counseling regarding personal .thatt-hese systems have potentially

 

 

 

 

 

 

 

 

 

EchLu:)_stcc)\»'ER\/_c)ngzt

 

significant E£?ects on supewisczrs. The
existence of ah intes*ve,ntihn system
communicates th supervisors their
zesphnsihifity to momitue' ofiicers who
have been identified ky the §§mgra:n.
The New Dt‘}eahs _prcgl_jsm requires
sspmfisors to mcmith identified
officers under their command for 6
mont-l’zs'snd to complete signed tew-aime-
tirms cf the officers Par§umahce every
2 Weeks_ -GEicials 551 Miami-D&de
tamm that their system betting tatum

 

EUCL|D__DJSCOVERY_OOQZ'\

l!‘

,g-.

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 21 Of 83. Page|D #? 2499

EUCL|D_D| SCDVERY_DUBZ 3

 

and devels;;ling ca e§ulfy tailored
rospof'ns»:»:s.l2 harlj' naming sys€ems
oppmacl; the problem off`l car as the
cancel-n to be addressed and the
imorvemioo is due response tailored to
change the behavior libel leads to indi-
::zuors of unsatisfactory porfor.rr:ancd

flatly warning sc_;'sfz:ms and tr'a.fiic-stop
data The lasalle of racial milling by
pulir:b has recently emerged as a notion-
a] commve.x'sy_ fn response to this con-
vovorsy, o number of law `orlforc:orr:ent
agencies have begun to collect data nn
fha place and otlmi:,zity of drives snapped
by their .otf°:`cv.“ers..

Arl officer who makes z disproportion-
ate number af-traiilc stops of facial or
erwiiz; minimith {relative to other alb-
c€-.rs with flag same asmgnmonl‘) may

be a jimhlero luchm"who mm the
abandon cf me depmnem. frame-stop
mfaml_z`ii:lon con be readily locomde
low the dalzbase and used to idemify
possible racial disparities faa well _a$
adler potential problems, such as dis»
pnmorl§ona'te slops of Fbrozle drivers dr
unacceptably low levels of acovig}..

legal mcmidezatims affirm q»smms.
Sou__\e law advisement agencies may
racist smelting an early wanting system
for h`ez:r that a pla.lncill'"s memory may
subpoena the database's infonna.tion on
o§s:er misconduct and use that infanoa-
tiun against fha agency in lawsuits alleg-
ing massive use of imm Several
experts arguz. holman that in dee cur-
rent logal'unvjmmuent, an eddy w:»:zming
S}‘$Lem is more likely to shield m
agency against liability for deliberate
indifforoncé regarding pulido use of
force Sffc:|:l a system demursu'ates that
the agency has a dow pnficy' regarding
mdm:,hasmdeagmb:ozezfm
to idenf.ify employees whose perform-

ance ls unsatisfactory and has as juror
gmm in placé to correct dial bullavlor.‘"

lloch obn;;of:'fs odd amos
fear defth feboomff

Eac:h of an eae'ly warning syslom`s
three phases involves a number of
complex policy issued

Selectimz. Afr_hough the selection cri-
teria for most early warning sys§ems
consider a range of ped`ormance indi~
cafm's_, some rely sol-ly on clfizen
mmplaiols.A timber of problems
related to afEc.°ial dafa D;rl Citi?.en com-
plaints. including underreporting
have been documented.*“ Using a
broader range of indicators is maze
likelth idznli.§r dilicer$ whose behav-
ior reun deparboemal intowezi`tlon.

ln£q'vem:ion_ la must flatly Wari:llng
systems intervention consists of an
informal counseling session between
fha nfliz:er and his or her immediate
supervisor Sume systems require ma
documth of the content of that
session which raises concerns about
whether supervisors deliver clue
intended content .o‘f` the inferventi¢in.
lt is pbss'lbl`e' that a $upervlscn' may
minimize fha marianas of fha lillar-
ventioo by telling an dfficez*" not th
wony about it lathus reinforcnzg the
oil`lcerrs behavior. Invoiving higher
making comand miners ls lll<o}y to
emma bull the intervention serves
the imendod goals Forthe-.r fasearc:h
is needed cm l“.hemost effective forms
of intervention and whefher lt is pbs-
sible to tailor certain farms of irrl'er-
vemion to partich categories of
officem.

Pnstinturventieo mordtaring. The
nature of posiirllorventiou monifcarlng

dol

varies among sys_@ms. Sfmze Syste: ‘-:LS
rely do mi`o- mal momwring of tile
subject oiflcors' ol'h&rs employe

formal mechanism of observation and
documentation by soperl'isdrs_ Tbe
relative impact of clifforc-_nf postlnrer-
von!:icm monitoring syssoms do
individual officers, supervisors grid
departments ramos further research

Doe fuel among many
Early warning systems have emerged

35 a popular remedy for police miscon-

cluct. 'I`his study suggm that these
systems can feduce citizen complaints
and other problematic police behavior.
folcers in the three departmeols inves-
tigated as aba studies were malole
in submlazly fewer citizen crow
bumb and use~af-m incidents offer
the weapon dba before Irl merge
three dbpoftmentb, bowman the sys-
tenswerepartoflarger efforts malone
standards of occuuntabili`t_y. The eEef`:-
Evoné_=ls ofsur_'h o system is reinforced
by land probably dzpondent on} other
policies and procedures that enforce
slandards of disqpiine and create a
climate of uccomtabillly.

An ododtlve.oarly warning system is a
complain high-maintenance operatide
that requires a- significant investmem:
of administrative resumed Somo sys~
cams appear to be essentlalfy symbolic
geselreg; w'lfh little subsjto;lftive` Con-
zem, and is is unlikely map an bloo-
vention pmgram can be effecdve in a
law amusement agency that has no
sei'lous commitment m accountabilin
it can be an effective management
fool. but ltsbould be seen as only one
uf many looks needed to raise stem
dards of performance and improve

the quality of police services

EUCL]D_Drsco\/ERY_ooaza

 

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 22 Of 83. Page|D #Z 2500

EucLlD_Drscc)\/ERY_DDQz§

PER-G§.‘§

PERSONNE“L EARLY

WARNING SYSTEM

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. , ‘ v Genera§ Gfé§er N:'§m§zer

February 6az 2064 7 §§ 614-61

Ez§e¢§i§§e Da_fé ` :.S;ézc;§§qq-code\ '

Fe`f§r§§ary 22, ZG§J?_ § `_ ' `PER-UB:_`,.,.

gee vazyarm éa{:e 7 §§mend$ facean

`February 2010 , - _
` CALEA Reiierence

22.23, .35.11.'9 Pers:>nne_§ Ear§y V¥arn§::g S-Ys§am
INDEYAS:

Disc_§§p§§_naf§§ Syste=m Employee Assistame P_rogram
Par§t§r§§§é_l Ea§i-y ‘Waz*z§§r§g_;$y§§em ~ SL§pe§§Espr Respc>ns§b) i§§es`

§. PU` R`PGS__E‘

T§§e purpose §§ this order ls §0 Du§lme zc§en§§fy §fjse procedures §0 be uSed §0 §c`:§__e_`§§§ify
pster.§§ia{ pa§scmne§ problems §n the-§§ Ini§§al stages' 61 order to redirect am empioyee s
ac§iorz's ~! behavior m a fashion cc>§isi_s§en§ with dapar§rr§én§a§ vic-ii was and mandasz

 

 

 

EucLlD_DlscovERY_ooszs

er

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18

17_ Niotor ven-tote pursuits;;

B_ Supervisory end emoioyee reports;

9_ Sick usege§otiice§ injury (temp disabiiity}
1 U_ Tardiness‘;

‘i § _Absenteetsm

§2. interference l Ocstructioo charges_;
§3._Assaoitoo o§iicer;

14. Offi`ce_r injury report

15§ Vehicie accidents

§B. Civii `iitigation

§ 4'

23 Of 83. Page|D #Z 2501

EUCL|D_D!SCOVERY_DDQZ?

PER-€§E.S

C_ if the Wetch G.ommander or Sec§ion 'Supezvisor;r`easonabiy beiieves, after a
review of the coiiected meteriais, that further review is .necessary, the
suoenrisor sheii `irl§cr_rti the employees diyisionj_ commander of the H_nc§ings_
'_i'ne division commander shaii examine-the findings rand if in agreement the
division commander strait assign a:`sopervisor to foc‘_therte\iiew‘§he incidents

D. Once assigned cy the dwis"ion_ commender_, the reviewing supervisor snell
schedule a counseling :r_rieetiog' with ti_;i_`e' employee Tjhe supervisor sheil
prepare a written summary cites §meeiiri§. "W§€§§CH§i'i'-§Q if f*~§"'fliel' inquiry 33

Warrented and tony corrective actions deemed ;neces-sary, consistent with

Generei G§;_ier 89-"62 Discipti_nety`_?hiiosop§iyt

e_ This may be rio form of positive discipline such 'as training or counseling

otion punitive in netL-i_i'e_ ranging from a verbal reprimand up to end

including iecmi_n_si_§on,

Tne summary'$iie_ll_ be rewarded to the chief or`Potics through ins chain of

command Tine subject employee streit also

summary of the review

be provided a copy cit the

E. Supe`rvisoi's conducting a review s‘heil howe access to department reoortsf

reviews___ summonses and analysis that may eioi_ them in completion of the

PEWS_'r`eitiew."

F- treece necessary vice-were Povestdiii§ie eeoe§e_§ meeting
S`~ii`ail §§ echedulad Wiihthe?__GF`-i,i€f icf _Edfiiié *§i_\'i`<`il the j=é§ifipibyi§e‘$ ldilii§'i.on
commander ito oi's;ouss the findings _ioi‘ the ;zreview and the recommended

course rif correcvve action

a. Ti-iis aciion__ mayo-be voiuoierr, top exam
assistence_. ti§roti§§i the Ere_'oloy_e'e Assisten

mndated_,ir§ .e£ri_§o€dar_}oe with the provisions
02 "‘Discipiinery Pi§iiosophy”.

pie :_;ti.'ie; employee seek`i'og
ce Pr_ogifeoit; or department
set-forge in oenersi":oissr es-`

G_ A§t reviews streit _bo maintained in the strictest contiden_ce and shell not be
discussed with other -em}:ii_cyees uniess it -is necessary for completion of the

review _ Aii employees made ewers of a revi
unauthorized disclosure of any aspect of the rev

action _

e_W she-ti be informed that

iew may resui§ in disciplinary

EUCLID__D|SCOVER¥__DDSZ?

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 24 Of 83. Page|D #Z 2502

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 25 Of 83. Page|D #Z 2503

:_D:L WV , @.,irr.l\
NVJLJWLG\W.O£/V

mCQ.__u _uO_._nm Um_o>m._._<_mz._.

NQ._N

Gm_...mzm_<m ._.>0._._0$
._._~>_Z_ZO

U~._G_~nmn§w _§M mow$d_m___
own eoo_e one owwoe_

   

 

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 26 Of 83. Page|D #Z 2504

mUU _<:mm_OZ m._.>._.m_<_mz.m.

 

._§m m:n_E mo:nm cmem§§m§ mm 0033§®…._ 3
nemm::m m 35 me:\m 33_5:::< _o< w
mio§:® gm ~m<<m con gm n___.~< o.q mcn_& one

gm m.$dm 2 Ozo. <<m m:m__ <<o;A _
wsoo_om:om::< one 5 33an §§ ol._o_‘
Uco_mno:@_ nl<e.”m emmoc_‘nmm_. esa §§ cce
oma@_m:$ .Ho BQSJ_: 5 05 Q.H< 26 __.;m:m£
Qcm___.d\ o$ in mae §m 303 Qmm§_o_m _
m:<:.o:_.:m§ 5 <<ZO: 3 :<m~ <<o_\__@ 01 iad

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 27 Of 83. Page|D #Z 2505

_<=mw_oz me>em§mz._. Zm<__.m=mS

- ._.:m mcn:@_ oo:nm_©m_eo_\.§m£ mm no§§_;mo wo
Q.mo§:m m mm.nm\ mma§m 0033§.;< U< mz.no§:® wyo
_o<<m con :._m QQ o_n mcn§ 25 .:E §§ o_n O_\_i….

<<m m:m__ <<o;A wzamum:@m::< 25 5 no:nm: §§
o§me nco=n man o;<mem emmo§nmm _

mem §§ 05 vendeeon §§ 333 <<oe_»._:m .,N<_.~I
oc_, 355ng 3 §E.o<m gm no§§c:x<w

- 3 Bm§§: 5 05 QH< 15 §.Q:m£ Q:o=~,< o§qm
25 gm 303 Qm&.eo§m §E.B:BQE, 5 533 3
:_<m\ sole o\ E.w:,.

 

 

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 28 Of 83. Page|D #Z 2506

 

 

_. §m Omwnmim _QLBE.< E:ng: mm 3 @,0.32 msa mem.
§ wm:\m 1 § nSS.Qm QS,`.Q Q:Q mm§.nmm §§ Q:Q§Q
§ PQHQ, - 3 w?.m§dd§ B,SQF S<Q&.§\ §§ Q§o§:nm

0 §§ wmmoo:am_‘ ~nm__ mmmco:mm\
mBQmm:Qm&

.§m Omwnmm,w _\o_m wm 3 mi<m 03 mnmsm msa nm_§_< am-mmn.m_mdm _
25 m§msoz. jim m:n_camm m__ H<_Omm 9h w§m§o:m 3 51ch
333 Iocv_mm~ goldman n_mc§mm~ m, BYJ<QHEQ_ umm.o:m

   

_, F,omn:<m _.m<< mino_,mm§m£

?omn:<:< §n_¢@_mm mn:<m Um:.o_m 5 <o§ m_`mm Qn
anozmwc§<\ wcw§mmm n:mn§\%mn§ m:m:go:m` ma
ws.nm§nso:m §§ gm n§:n S_qu: Umm§mmmmm~ <<m=A 95

J__G 2 515 m.nonm _

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 29 Of 83. Page|D #Z 2507

%

wO_.m O_n .:._m 022an

 

Umnmmmo: _<_m_a:m

P,omm.m<m mnzosm U< vo=nm 22an mjoc_a com§<w_<
§ch gm =<mm 2 gm 93sz can gm n:<.

.. zmmn <0§ m<mm 03 gm m_m EQEW\P 32 §§ <<:B wm
w§§m&m.~m_< 5 203 gm <o:.

§o§_~m <oc_. mnzo:m msa m:w§,m §§ §_Sm masoan <<=_
mm§m<m gm amm=ma Bmc:.

wm m<<m~m §§ <oc_‘ mono:m 5 m:< m:c§o: m_mo 33 m
Bm,n.mmmm 3 15 gunn 25 3 25 nw:~mnm <o: m3 mm_m<§m.
m“,§:jm gm _3mmmmmm <oc m_,m mm:@_:m wm §m _,mm§ Bmm…mmmmw

   

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 30 Of 83. Page|D #Z 2508

DO_.m Om .d.Im Om_n_nmw

 

mxumn.&sonw \ mcmam:nm on O¢_nm~ ncaaan

§§ S__ §Sa 3 §§_3 §§ § 532 3 395 § _v
530an msa mmm<m 163 5 339

zode T`:mm,msos §§ cw§n€m:$ 01 <o§\
nm,.nmw<ma =UE_D_&:<: o$ m nm__ m:oc_a nod §Um£
§m monaan Qn 05 Ommnm§

 

 

 

 

 

 

CaSe: 1217-CV-O2122-.]G D`OC #Z 37-1 Filed: 07/06/18 31 Of 83. Page|D #Z 2509

 

HJJI:HO HH.L :IO 3108

 

 

 

 

   

worm 01 .H.Im O_u_"_nmm

way §m< m_mo go
155

2510

07/06/18 32 Of 83. Page|D #Z

37-1 Fi|€d

 

17-CV-02122-.]G DOC #Z

1:

Case

 

 

 

DO_.m Om .m.Im O_H_"_nmm

 

2511

07/06/18 33 Of 83. Page|D #

37-1 Fi|€d

17-CV-02122-.]G DOC #Z

1:

Case

  

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 34 Of 83. Page|D #Z 2512

.: mm 29. gm O§nmiw …ov_ 3 wcn_mm §m _$mwd<_m o_. 25 amo§o:m.

TO_.m 01 ._.Im O_"_n_nmw

 

mx_umn$:o:m \ mcam:nm 03 03an monaan

mm_<=zmmx~ >m vo=nm Omwnm$__ <<m Em__ mmm m__ aim_.m:» H<_umw o..
umo§m. _<_ms< § =._omm m_.m mqmm.n umou_m E:o wc.£ §§on 5 wm
md m qmm=< _oE cord 5 H_._m:. Em. n

wo=nm m3 253 3 :m_n nmou_m §w.o:m: §m:. docm_,_ 2313 .B
am?mm gm m$cm»_o:.. msa 3 m:*o_,nm 25 _m<< E_,.ms :mnmmmm_.<.

m<mq< osm 333 reg m mm¢m~.mz.n amax mqoc:g. m ozmqu cv m
§m:m§m. man :m<m _._ma %.n.hm_.m:» Em mxcm_.mmsnmw. mmn_,_ ummmoz~m
_ m&osm msa um_.w_omnm<mm m3 m:.n_cm:nmn s< H:omm H_._me.

 

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 35 Of 83. Page|D #Z 2513

wO_.m O_n .:._m O_.h_"_nmm

 

Umn_mm\o: _<_m_a:m

<<jm: nomacngsm H§£n ,£omm 0_\ cambme o;mmco:%:m 3
mBm~imm:n< nm:m¢ mm§$ ao§mmz§ mmmo&ml< nosacn…m¢
m:oo§mw _@m~. mmmgmm` m.S... 3mme 336 m moon amn_mmo:.

 

- >B <o§ Om_nmwm ncimn:< md ;m_A msa BQ§S® <o§ 262 qmm}smm@
l bad <oc BQ_ASQ moog amnwmwozw §§ rmm_@ <0§, nw;:m& mm:nmm,.»

- §§ 505 mgm m<w__w§m ~“o_. §§v

OOOU OO_<"_<_Cm/:OD_,J~._O_/_..,v _<:..V,Zm.O,,>:mw...v <<__¢_l <OC >DE<m HGmm,M.Imm@
mIOCM.U <OC wm!_. > _umw“§m.”.mm.._v OO <OC I><m mcm<m:._.>an\..,

Cmm 33303 mm:mm` §§ m amm_@ §mm§` msa xmmv §§mw§
Um_,mcm&<m. 55 noo_` goman noia nomd <o§, UQL:Q :F_jnm.
OQQW §§ <o_<_~= :m<m Bm;< 303 253me 5 232 153 mwm§.

 

 

FEZ‘E!¥-

CaSe: 1217-CV-02122-JG DOC #Z 37-1 Filed: 07/06/18 36 Of 8`3. Page|D #Z 2514

xO_.m Om .n.Im O_um_nm_~

P.omn:<:< wsm Umgm_os _<_m_a:m

mm m<<§.m 1513 an_mmo:m <oc 336 35 15 m§mmo:m
<oc Qmm$ <<w= §UQQ.. 303 253 _.c£ <oE _mm m§_ 26
_w<mm 90 §omm <0: 3m mm~.<§m. <oE, dnm=o<< §§an ga

§§ J_:Emm m3 §§ng U< <o§ nscmnmm mm <<mE

20de mead vo=mm gm 86 wo§m berg ..

35 mu_@_`mym:mmos o.n Q§Sm_ omm:n_m$ :\EA 2 m__
233 wm mcmmm_m<_m./:. 5 gm _@_.o$nso: 9n simms
_:nm wsn_:%sm §m\:m< o<<:.=

§Smu\\é§z.<oc§wm.no§\ém€§<u©é<w<r_aoao

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 37 Of 83. Page|D #Z 2515

WO,..m Om ._.Im O_"_u_nmw

mbc berg - mmwbmm~ 25 ho:w§.§:.o:& m`.n§w

, 20 nm_.m_os 255 m nosm:€:o§_ §§ 8 <_0_55 25 _w<<“
52ij Bm< m:< 3553 25 amon/55 §n 35 no:m§§o:m_
535 355_< 555ch 5 2 25 wm mcmum§ma 9. :m<wsm
5033255 m 255 W

<Oc 55 wmm_@osm§m 3 _So<< 25 _5<< m_o:m <<_2. Uo:@mm\
§onma§mm jmmmwaw:m m:,mm.o mmm.`nj mh mmm~§m~ 55

zo.~m" ._.:m mmmm 9a =m<ms m 2 mm$ 2._3<<: ocs :m§__
_o$ 25 m£mm.~= o_, =_ nms mm# m<<m< §§ 225= aommm
20.“ §.25§ 25 525 25 amum_`»§m:~ Om 25

OEB_,E 233 2<= =mv=z .

 

 

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 38 Of 83. Page|D #Z 2516

xo_.m on .:._m 05an

 

Q.Im §§ >_<_mz©_<_mz._. HO ._.Im C.m.
mOzmj.EjOz

 

125 §§ 20 25 Umoc_m 5 wm 323 5
251 bm&o:m¢ rocmmm` Um_um_,md m:n_ m¢mn.?
mwwm:m.n.c:q.mmmo:mc_m mmm<n:mm 23 mmm~c_,m?
wjm= 32 wm <mo_m_$a` msa 30 <<m:,m:.$ m:m__
mmmcm vi sues qu_um§m nmcmm_. mcgowde v<
§§ 91 m¢:§m§o? ma _@m_inc_mz< …
ammn:_£:m §m §an 3 wm mmm§,.:m? ga gm
nm&o:m 01 H:m:mw 3 _Qm mmm~m@_. w

 

 

CaS€Z 1217-CV-02_122-.]G _DOC #Z 37-1 Filed:` 07/06/18 39 Of 83. Page|D #Z 2517

x
m
3 9
§ g § m
_..;
"‘s 3 O
m m "< 91 g '1'1
m m "U C.T U"
'”"" m m ‘“"" --- ""l
N "1 r-I- m `<
_¥ `.`.3" 0 g m m
FD m
l l 0 m S.: 0
§ 9 m ..n
3 Q. m "n
l O l "“'
::§ ("'i
* §

 

 

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 40 Of 83. Page|D #Z 2518

wO_.m O_H ._.Im O_"_H_hmm

 

mbm vo".n< - OBQQ normand

.. > Uo_wnm o§nm~ _m gm 302 no:mcwncocm Bo.,mmmimz<w 9h
_onm_ mo<m§§m§ 23 315 32.01.2 o* 15 _@mon_@ 25
Qnmnmw wm m w<§_@o_ Qn m.BE_:< msa mc§o§< amos <§03….5@<
nms B_<. §m anQ_m monaan on §0<2 omin§< 32QO
%~mn:< goes gm amum:§m§. iEm`. ms oInm_, chr md m__
H§mm~. nosm¢£ r_§\:m_\ mm= 5 m §m::m~ <<Zn: gomm non
wasn 1152qu 3 23\:2 35 15 mcn_& gram cmcmxgmnr

01 25 Q.E 9n m:n_&. g

 

<OC >mm ._._._m OZ_.< mm_vmmmmz._.>._._<m OC_~
Umv>w._._<_mz.~. I>m >._. <OCm n>_._..m. E.m>mm I>sz-.m
._.I_m mmm_vOZm=w=.:.< <<_._.I n>mm.

 

 

 

 

CaSe: 1217-CV-O2122-JG DOC #Z 37-1 Filed: 07/06/18 41 Of 83. Page|D #. 251§

mUU Cmm O_n mO_~nm UO_._O<

 

moxnmu ms< <mo_m:nm` noBUc_wmo? 0_‘ nosmqm§ nz<mwn…m__<
mxm;_ma 0< m:< 3003 5003 01 mmm§.~ m um_\mos 01 §…M:m

Cmm 010 mmmmosm_o_m _Hoqnm 1 0:_< 552 wm 3000me 2 3
rmn§m<m _m§nc_ ogmnz<mm=

OBQQM m:m__ Ummm Sm= 030§ 25 50 amm$m 010 1038
soon §m umm~mm 01n B,£m$;nm.

 

:£09\\§<<§.<0;§cw.no§\<<mdn:w<ncwo§§xmmmm

 

 

~J'

07/06/18 42 Of 83. Page|D #

252O

37-1 Fi|€d

17-CV-O2122-.]G DOC #Z

1:

Case

mUU Cmm O_n _HO_~nm UO_._n<

 

 

mOz._.>nH >ZU OO<mw nm_zn__u_..m

- nosdmnw OInm_. guam 300qu §§ 0030: 0033300. no.<m_.
O_Enm~. 2033 5 mcnuo; 030 010/hamm mmm§m:nm <<T_m: 300000

 

 

 

k mo<m< O.BQ.H ocwm<<mm mnm:m. mw<mm .~mmn_g% mm ammama. <<:m:
m:mwm§m 020 _0220@ Ommnm~,m mjoc_a wmm 000 mso§m#

 

 

 

mUU Cmm O_H mOmnm vO_._n<

<oc_\ <Q< E,mmm:nm wm m _m<m_ o* §§ l mm_umgm_w_<
<<Tm: <oc m3 5 m:o§m~, Umwmoz~m JOBE

-__ .§m §§_ am§mm:o_. 25 no§§c£nm:o: U< gm §§anth
83 §§ m §mm 532 03 gm oino§m 9h 302 m§m.n_osw.

- anoB mw<_:m <m_,_um_ nog§m:am~ cmm §§me §§ wm 3on
ommzmw<m 0_, §Bm$:_:m 5 ms mmc§ 3 mmw: §__w:mw
U§§Umzo: 103 503 32me wm<o_<ma. _

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 43 Of 83. Page|D #Z 2521

  

 

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 45 Of 83. Page|D #Z 2523

Don@& gm §§ !.
_EA§$ §§me am M@mcm am on §§ mmo§m m~.w m HY.@Z
_Em L.§_wi §§ § §§ m_w¢w_m m3 _me mm§w

U“f -P`* w

 

 

wo~mm _.__. @§ mg nw §m <mw.wmw §§

__me @m¢!@ §mm:o wm gmde §§ aim § msa N.@_mnmn~

._ § monmm §m§ § wm §me §§Y_ §m Um”mm 55 3 §
mg§m?§m

._ § mgme §m§ 5 wm §§ § _,< §§ m3 wm § mw§nm 5
_QQ maxwme mm

§ Uw¢@_m feme 5 gm ¥ mm m §§ al osm §,:Q, §§
§m_.mm_$

__ § E§m §__§ mm§§ §m§w

 

___ ____@_§m_&mw DMwmzwm_m,___§__mmmm,nmm…§§
wm___m§w @W§W § w %__mw,__w.d mm usa 0_ 5 w_,w_mcwwm_ … w nw

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 46 Of 83. Page|D #Z 2524

 

 

 

 

CaSe: 1217-CV-O2122-.]G DOC #2-37-1 Filed: 07/06/18 47 Of 83. Page|D #Z 2525

<m 32 2 222 <m_ m m_ 533

<§2§ 2222§22 ,
§§B$w§§§

m§§$ §2222§2

 

2______@2@2_222.2___@.2__

_ __m_m___22_.m§2§2_§.2_2…2222
2222 2220§2§22

\_!22._22,2@2 mmm§§m

 

22§22222_2…_222.222222222222

2 mw W _,2@222_222__2_2 @_2§222__,2__22,222222._2_22..22.$222222.
_ __ 222 §m222_m_2_22220__22,20,22222§2222@

 

<22_22 222
2222.@222222:222.
cmm 2222/532 29§@?2@22
2232§_22@2§ !2__@@22<22

222 §§ 2222 §22222§

` k.22222222_22 n§§§§§
§§ 22 ODY.QB

 

 

 

CaSe: 1217-CV-02122-JG DOC #Z 37-1 Filed: 07/06/18 48 Of 83. Page|D #2`2526

mg cum 01 gram vo:n<

 

wm ><<>mm Om nO_<=<_Cz_n>._._OZ _w>mm_mmm

- U_ém _:22_22@:3
- >_no:o_ 522_§:$
- magnmzo: 01 236_=®@3$ _m<m_
- mgo:o§_ m§wmoz

- me_m\ P£c%mm\ P,m-no:nmm<mg 30220:.2

, Pm<mocm zmmm:<m mxnm;m;nmm §§ 2.m<< mic§mim§

- _<_ma§_ 02 _<_m:$_ _mmcmm

 

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 49 Of 83. Page|D #Z 2527

mTU Cmm Om momnm _uO_._n<

wmw wE®._

_ umw man oz § mmom_

 

no§n_,o:$zo: ._m Q<:m§n ?o:,£w::< n:m:m§mv

O.Dnm~.m Bc,£ Fm<m §m mc§< 3 wm w_mxm§m. Ho
mwS_mHm man Qm-mmnm§m man B-mmnm§m mm 33
m§m:o: %QSSM.

 

 

 

 

 

 

 

 

2528

07/06/18 5O Of 83. Page|D #Z

37-1 Fi|€d

17-CV-O2122-.]G DOC #Z

1:

Case

,\brO.._.*Oz,.D…mvazm»m
_OOZ._“.WZCC§

22 Wmmnc:a_:m 6 no_.n§mwam

§§va o~_,~u…éwmomw …Umm@m_, Ocmw

.- 9 , ..,.u, 1

HK am M.o .§Q<m ‘ U@mm §m.wm§,

m_uc_§m Yzm,w 305 OIQE

3

T

__u:wn$m 95an
_.,_._.~._.mw§_._m §§ OWQY.

wm¢§mm
. -_W,W

. qu§w§m 3 mmmm§._ OBnm_.
<¢mmuo:m Cmma >mmm:wp .Om.mom_l

~z _ \E@_CDEM PO_.M.._GZM

033,. §.mm$nw
{m_._wm_ § Ummm€m_ GQBHm:Qm
,mmnon Umm§o: .
mwmmmmm §wv_mnm§m£
ymwww§mnw 302 O§Q OH$D

.._.mrm Uo,§m. §§ §m§vc_m¢omm

2 ,»u~..mmmcw.m No§.w .
mi£z@ _<€womm 933

w

»m_.omo_w Q. m”mnwn.omw Um$nm.w
mm$: mmm¢m§m

. _A_o§nm

_.mm.,§ .Kn§§§w 9
m_mmv@. Ioaw

 

om_mommuw mmw_»ozmmm

®…Ow§im§ §§ mm§_._mw WmE§H

 

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 51 Of 83. Page|D #Z 2529

mUU Cmm O_" 10_~0_.". vO_._n<

 

.. 15 Q>n:o:\wmmuo:mm noz.:::::)_= Eo<&mw
ongo:m 202 O_£nm_\m 3 BO<m, co 01 355 mm :mm…ima

- .§m _mm£ mgoci 0103.@ emma 3 ?§Q_m m:<
m#:w§o: B_Z§Nmm 1333 snow _3…_§,< 5 030me
msa o§m~ cw;¢_mm 23 m_wo =3_.$ __m§_:<

z©.`mu_ 03an mm.nm.h< _m >E<><m §m _?m._n U_j_o_,:< <$.m:
_`mmuo:%:m 3 nm=m. <oc m3 90 so ram 5 w:<o_….m
w:n“c%:m 15 _Oc_@:n <0: mm<<m m <oc mo Qo<<£

 

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 52 Of 83. Page|D #Z 2530

m3 cwm 0_H moran 352 \

mm>_u:/_m ._._._m m_._.C>._._OZ _

.. 03 mi<m_` §§nt 352 _`mu&_< wm wv_m 3 333
23 mm§$o? 23 §me mun~,omn? m3 ms< no._hm:dm_
393 mmnm_w:o:m 010an 33 §m< wm _..mmn_m@_m

mos§§m& 3<& ex mm&.w»§nmu 13 J:m§m ~.53@_#
o.% 333:3 mm<m: U< m mcgQO mmmm:m.m ms grown

- 033 _m 32$3@@_ rm<m_ 9n wmm.m$:nm= _m BOQ<@Q
363 mo§mo:m` OI._SB m_,m mc_m 3 Bo<m § m3
355 .§m nos::::§ 315 muc_.ou;m$ _m<m_ma

3333 m3 m:oc_m_ rm<m m§nc_mw_m JQS mm 3 E:<

\\

 

 

 

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 53 Of 83. Page|D #Z 2531

m_v_u Cmm 01 _nO_~nm _uO_._n<

 

O:om m:< m;cm:o: :mm BO<QQ_ _um<o:a 3m O¢_nmw_,%
m_@::< 3 Bm:mmm z <m&m__< m_o:m_. 32 BCI mm_wg
§m_mu§ou;m$ _\mm_uo:mm 31 2439 n

_<_omH 939 3m mom_ wm 3 mm§ 3::.0_ o::m
mcm_omn:& mm nc_n_A_< 25 mm+m_< mm nomm__u_m 2a
qm§o<m 153 103 3m m:cmzo:.

133 wm m mgm _Em _de<<mm: 305 ___Am _.o__\;
332_@:_33:_. m:=$m` umunm_. mn_.m<_ msa Hmmm~.m.

m:mcwm <o: nms n_m~:._< m.`:nc_m.hm <<:2 <oc 35 msa
<<:< <oc 35 ;. .,

 

 

 

CaSe: 1217-CV-O2122-JG DOC #Z 37-1 Filed: 07/0'6/18 54 Of 83. Page|D #Z 2532

mUU Cmm G_H mOwnm UO_._n<

Um>mr< mowan m:< 323 32 333 m mcww$_,&m_
mmr 32 x <<___ 335333_< 3ch 01 `mmc: 5 333

- zo§§m m:m__ wm 332ch 3 §§ ms 033_.@ 33
333 <<:m: 3333de U< m _.m§m_ .§BK.

- >z< O§Ozm w<m:mv_m m:m= wm nosm&m.\ma qmmmo:Mw_m
533 §an §§ m _m§m_ 332 3 323 §§ mi<w<m_.

.. o§m_`m _<EI 355de m mcx<_<>r _<__zcmm§
zm<m~. m__o<< <oc_.mm:n 3 Um=m<m

 

33 <oc <<___ now mc,\<m<mm

   

§§m\\<<§é..<o§:cm 33\<<3§\_5<"03 2§@3_@_;…? E.…
Um_noho:wzzow_n<w:j_<_o§§_~mw -w …_

  

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 55 Of 83. Page|D #Z 2533

va Cmm O_H moxnm _u_O_._n<

5 n_omm:w - ._.I_zm_m ._.O mm_<_m_<_mmm

Podmg woo mmq<o

- _<J_Ao mooo ooo§o:m
,. zom_o _o;o;:mm 5 oao_`
.. >nmo:m m:oc_o wm §§an momo.@:§ odd mo=:<
- §o_$ mooo 323 woo oono§o:d moso:m .5 om§_

>H 25 woo oon gm oo<o 336 mE,m <oc woo <o§\ oolrm$
mo :o:,_m joo_§< woo moo°m_<m w

m

 

 

§ 3-

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 56 Of 83. Page|D #Z 2534

EUCLID_DESCOVERY‘_OD‘\ 232

 

 

 

_LN;n/\llavdaa annod clmna`

    

' Euc`LlD_D¢ScOVERY_omzsz

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 57 Of 83. Page|D #Z 2535

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 58 Of 83. Page|D #Z 2536

Cmm Om wOmnm m>mm m.>§

, §©R. mm§§§ Y.QYM $,QEQQ§
§ gm mw YYQ m©§§m§w

gm E=_E.= §mz=zmz,q

.§m §§ g _sz nmo§m 3 wm mmn§,m 3 §m:,
_@E,mosm__ rocmmm~ mwcm? 25 m_.,z.,m§w~ mmm§£
§§mwosm§m mmm§rmm mma mm_w§mm». mrm= 33 wm
<wo§m? msa 30 <<m_\§j$ §§ wmmgm~ §§ guam
USUWU_@ mmc_mm.` mcgowde U< 0er Q. w,§.§m.mo?
mma Um;mnc§;< Qmmn;§;m 15 Umm_nm 3 wm mmm§rm?
§§ 15 um&©:m ow §szm 3 wm mmwwm@.

 

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 59 Of 83.7 Page|D #Z 2537

Cmm Om mOwnm n>mm_ r><<

§&_@§§B§ Y§§ §.§K§m
§ Cwm,ew §§ §§§§m

§ _WEE= §_Wz§§

_m§mmm_<m __Um: mrm.__m 32 wm _W,mgc___.,ma~
591 m§mmm__.<m 333 §Uomm? 32 Qcm_
msa c:cwcm_ ccsw:§m:$ §__m_n$a.

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: O7/O6/18 60 Of 83. Page|D #Z 2538

Cmm Om mOwnm n>mm m.><<

 

iam @§§§ mm®x@ §§§H
§ gm mw mm_§m MQK§.QHH

§§ WS_E.§E.= §szEE_

§ Um§o:m §§ 0_, zw§mm~ma 5 15 C. m. msa
wc§m§ 5 15 Ezm%nmos §m§om m3 Q.gwmsm 3m ,§m
c::..§ m§wm §§ can §m §§ <§mw‘m,§ §m< ~mm§@.
26 m§um L,_L_ Bmwm Q. mican mz< §§ <<an wym:
mw;mwm §m m;<:mwmm Q, MBB§EY 3 mENm:m 3
§§ C§ma m§$mw 301 §§ ms< mmme Qm§m<m ms<
mm_»m@s 90 §§ _W?wi<dm Q. ~H:\o§£,.~…<di <<§0§ aim
§ommmm g §§ 301 Qm;< 3 m:< groves <<_§5 §
Ezm%&o: gm m§m_ 205mequ own .%m _Y<w.

 

   

_mCO_¢_UIU_wOO<mw/_<|OO`_ Nmm

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 61 Of 83. Pag€|D #Z 2539

cmm om__"_oxnm n>mm §§
M; ®§§§, § Y§§ § .,Ym §§ § YSW Y§Y§.

mw m§§m § S§QKYKK_ §j§ §Wmm§» mw@w…m,w.m§§§ §

®W§Qw §§ YQ§§,

mw §§w§ § ®QKM_§ …"…§YY@ ,x…§§ §§ A§Q_ §§_W§
§ §Y&Q§ w §§K § §§me § m§§§w_m§ .AY)UKE_
Y§B§§m§_ w§w§,
win §§ x §§§§K § §QEHH §m_@mww,w §Q&x §§§
_w§% W§§mm YH_@_.
Q, §Q§m § zwwa § 2@ §§m§wm§m. aqu § §§ Mmmm_mw, §§m
§x§ Qmm&% M@.BQ Ww_§§$§§.
.W §Q§E§ § IQ§Y.Q § §§ §,§,@ w§m@§ §§XW§& § §
_ m§§§m_ mm m§@§ § §§ Hm§, .
mg §§;. §QRY § Nm\ww vwagng § m§§ m_§wmmm*

w §E.,KM, § m§§§w§ § C§§B§ §m§m §§ §§W@Q ,Y,§mm
§§YY@ § &§,Wmm

§§ Y§@,§§ § Qm§§ § w@§€ YW§ § §W§§ §§§.

   

sr M.»w QWM.W,W&@..

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 62 Of 83. Page|D #Z 2540

Cwm Ow vOmmm n>mm_ m.>§

®§m@§ § §§mw

1 QBFMB A> %mwwm& gm m .§§9 wm§<` Q_L<m §§ 3 m 205 3
Uc_£:mmm o§:mm §§ 3 nos_:dm§£ gm osmmd cm ms 5ch wm@m.mom

§ ®_,m:m§ mmmm m wosm ram W:m§m esmm sm m:Hm_,m gm wwo_,m mo 3m Icgmm
§§ 0§$_§@ mh mm_$ mm§< 5 am<m §§ .WO w W,mmsm\w rocmm m:,£…mma.

- O$nm., henson m §§ gram ODnmn ovwm_.<mm m§§§ m:§". §m.
395 msa Nmm<m <Q.< QEN_AE mg 3333 mcw_@mmwocm gm Im mnm<mm@w.

- Q~mnm”, no§§, BQ_AY mm m:<m_wzmmdom,< winn wgn 03 gm § 3
mg §:K mm mcw;m cn.

- §§:onm_ O_£om_,m m"i<m 03 mnm:m,. > B,Emm__m m:mcmm ¢<§m M…_,<§m 3
355 mw,m§§ ga gm mgm§:w BC_.§_Q §.§@m Q§,§m 15 UBQW$.

§ m§:m§ wm §§me annum Qnmm@, O§:Q_”`d Qm$w§zmm zc§mzw
smugst 3 m:< Q,§Em_ 333 md gm Bo~.m.

 

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 63 Of 83. Page|D #Z 2541

cum § momnm 9mm §§

 

m§w@§ § §§Y

m_,§m§ n_m__§§§i_d§ Qm_.w§._w §§ m§§w§ 33¢_¢§ ,<B§§
;mr$mmn¢_,ma§.§§ §§Q..§m woc_m§ p§mwzu§mz.=

545 lmra o* 25 _uoov_m do co
mmo_:..m 5 »_._mm_._ _om_\w._o_..mg :o_=_mmm“
uwuo~.m“ 93 Q$@o_~m“ m_mmm:m»
::~_.mmm_¢:wu_m wm_m~.o:mm m §
mm_mn§.mmq m__..m: =o_» am <mo_m»ma;

. _,H.Im_ O_m._,_w mm_j<m mmbm®.zbmrmz mmm m.m.>?@>xm_"

_§Q_M§…W W§YQ § §§ K.. §w§ §§ @§;Bw§§@w §K§§Hm

§@§.,. A_.wwvw,§wy §§ §§ § m wv,.§m§m@__m Q,P§v, § §§ §§~

§§@, §§ §§ N@\N@ <w§m § §§mwm§z 23 m_§§ §§ §,

§..w§m.w §§ x § §§ §§ w@@§ C§§§§Q § §§ @§mmm §
§§ Wm§m@»m §§§Um§_ ¢_…Q§Y §m §§ §§Y@§§.WE

   

manson

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 64 Of 83. Page|D #Z 2542

Cmm O…w mOmnm n>mm F><<

 

M…M,,…§§§ § §§§

, m3ow n§§mm 1533 O§nm_,m emma m§@mmm<m 313 msa <EE.EQ
1me mmm§,ma 3 §§ §Q_Y, §m mcc;mmz§ >3@§§@§.

§§. m&m§ §§ Mum_~.m &dem$m §§ dm~.mu§ mw ,§m»
§®m.§$ Q~. dwodm§$ §§do§m §§ dw§n@ww wm `we§. 391
Qm§\ we wax dm~.w§= §H`»§ H..w \E.ww&n&..o§ §§ HQSH`

d~.mwmnmom nw gm ~ws@_.§

- jim Gmm§g mome m~.m£ma B_mcozamz$“ gomez xi m Qm..mahma
<m&§ § iam aon § mdm:m§“m m<§@:mm~ mvc_<m:m m 3§¢$§0_.
S_£ 31 amHmw§m:wzm <§Y mxnmwmm<m ;mm o* 313 mm<mm 135 m m

Smw mmcmm gm mn:o? éw_§ 5@§_,@$ 5§\ amax w§m§mw gm
‘_§,§ §§ mwwm§ § m m@®m YW.Y QKWH § §m§§§ §§
,w..§§§ §W_§wmmm §W §§K§KM §§ wm@mmm§mmwm .W@W\
,M§ §§ §§@§ § §§§m y§§,

 

 

   

_mCO_¢_O!U_mOO<mI/\lo§mww

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 65 Of 83. Page|D #Z 2543

cmm!._.. mong .n>mm §§

m§§§ § @§§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§§

<mm<..c§u§@

 

mcw:c¢c_moo

 

 

 

 

2544

07/06/18 66 Of 83. Page|D #Z

37-1 Fi|€d

17-cv-0_2122-Jc3 DOC #:

1:

Case

 

.MHM § w@§mw UMWYMHZMHM W,GCM ¢‘_WWHOM.WNMWM v w Q‘E.§ -»@ c

 

 

mm.~wuH w.w..w, E»w

 

w.§w , §§ ¢M\ w»§.§ §§ w,m.m£.#$ .U§.Emw&. ww. ww…, mm

 

 

 

 

 

§§ o£.

 

.UR r§wo»n wm §§ w cnm%§$ mw 5 _.Ko»qmmm .WQMW§ owmn£,.,,. W.Y. mu&&§mw § m»a § B.» YH.@. 3
E,.,.,YMW mg&.m H.QRN,. §§ new §§ o», m#w£$ § §§ § 5 §§ w umw EM§WEE:$ am Mm&w,§
Ew\mmz am § G§o WQ»..W”.H& GQMT umw §§qu ~ omh- W-SWVV o»¢m,,w 933 hwm$&:w.“_..i?d mdan 3
§§ EM»W_ § gwa m»mw§§ §,.HH§ 4 .§msm“ §§ »,B,.§mm§mom am §§ §?§m§.w omm.)wm,

wamnd .m§?§£.r.

 

wong ammme Hw »,,§J~ §.,,.wo§§ Sww. ,.Wm.w§u§$ F.MEH §§MS" o.» mmnm",;mmmww Em,£ f
nam?,.»mmmm ma mmmwn» mm$% §%.Q~. 3 M,.B%,Q 95 magme §§wa .WQB M§.,.E 3 W~om.n§. §§ §§
,,§»_ K. §§E§W KQQ,.§._ §§ saw § §WLU § MHBMW§. Hm.§w §EH K_J,Mj§_w §
nm§.qu@m.

ME.MWQ§@§ § $,§§H. ,U&~.R §.…BE@ §§ gm EMLN _m§m£m §§ Hm~:nwmmm §,Y$., §
mg §§$. § man YW.WH. YMS Qm§_§ §»m§w 3 w¢m@m Qm…n§ mem zwme m .~_§_YEWE
N_~&%mm m,@§ §m. §E,§EW, ¢QEH,,.W w.mw$w am 94 E_§§Q~. @.ww §wcm.§wmw mcmnm ommm$. 3 mww
§§ sw m$m$,,. M,KH.. §§ § Hw nw._.¢§§§n£ R,, § .E.§,§.: 3a KW§W §§ W..,,.& wm 313 ama wm
ww§o§§@ .E .M.$HS$Q win nw§.@…. qu .;C.w@ wm UQ,D.@ QSE.§EZ: wm m3 w R$wa..£%.
wm@mw&§w. m § won M£¢§.m §§ mm HQS.H §$,.m § mmp N..QEW_§.&~,M § mm§:.xmm MWMQR
§Q§KQE .W,£§WR ES.WE,,H §§ w..w §§ B:§, w § w mgn%w WWYHM §§ m%_;§w 333
wmww..…\..m…m%.mowm,o:wies ana a€$nxiw momnw. Emw.w$ma 5 ».M,.

e. Wm m% wo.m$.. mw §§ M§&@ m§mn¢ UQUEE...E: §§ ow,wm&.w E..d. :H, nunn Em. m»w»?,_ mw W:,.~m
§§w why .w_,..w@..£wm,.§ :?.BKQ. 3 »mmmmm. ,J.Hmm wc.WHm.$ mexmzm §, u.?. ww_§,.& nw ¢.MB§M,. w
wing §§ 3 Y§m@m§m H§Enmw 5 m §¢.,.Y. §.Y., H.ZHVBE. mann 33§, am § QW.H&&‘.
§ w§,~_&…am 3 .\."W&m§&zm wmme m__ m§xm&§_w §§ _wm»…,x.w.,"w~ W§,S nwmm.§~m amax 53 §§
w&§m ,,,Em. m3 @£M§ @.M W.HR §§ §§ §§ Mw%. §§me @M, ~§§mm¢ Bz§z§%@ m§: nw
m¢§mmw.

§ §§ §§ YMYME mm mw£§z£&%$. me?éw §§ g ».§.L,Ym 3 §§ .~W..wmmw. wong 3 m»o%.x
§§ §§ mwm. 3 §§ §§ Dm§m.m§ M%EQ_W.

 

w§% nw §§ §“ Y§x: §§ mm § §§ §_§_z § § §§ q.,_.§m& Qm_m§. §§ § §M,ww¢m.
§ §§wa §§ W§. ¢.._ § m mm md ,. _ § wome §Mo¢, § §§ § ¢_,BWE § w_§§& wm §§

.w_x&%mmmw _nwi mmx§§»w EMEK m£~§.w§ wsm M&§S. .x.»…wmmm .,

   

§ $ §§ H.om$. .¢m, mz. muhme _womnm U£.,§:m~w§ mg %m, w,§,w§.£…»os wm MME?£.~ .m.m@ 5 QH; nam

.iw.»»mw$» ,w.w£, m§wm.o»? GWMYH H.M,.£, Y._...¢. wm QW.REW.H M.E".§%Ew YWRM.WWB @3%",... w§...$ wm

xw,n§§n.. H. EGH.…Q, mmw wmme §wa M…W.§w mdma UHE,J. w.§.m §§ wm §§ §§ xst §§
Y,BOE.WWU mw»dmm~wmwwn§…

§ §§me §§qu 3 m§,.§m §§ H,,M.Bx mw,`..w_§ .nmw,$§. @%§.

§

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 67 Of 83. Page|D #Z 2545

cmm om_n _",o_~n,m _..vo__._n<

_Im §m Uo=n< _o_n_-_\__m .mcn_& _….uo_mnm Om__o,m;§m£
§§ ommnm_,m 32 gm 032 gm Q@m~m@ Q... §§

<<:B: _m Bmmo§§< :mnmmmmw< 3 m§£ _m<<§
oc_.m§<mm 50_§_5@ §§ now _:.§`.EQ_SH

,.~…. m§mnm§ Q_ S§§ Q_Q.QR_ _Q. o<m§o§dm ~.Q_~,_,R§B 3
m .`QEP_` Q_§Y~ ,

N. vwm<m::.:@. gm 333 own § Q§§Qmw

w. Q, EBHQBQ § Q&Mm%nm QSQD E. §m§m§§.¢, §Q§
§<.&.S~ §~§.

OEBD 252 33 §m_:,.m&@§ ma gm Qmm_§m
2403@ §m< cmm amos gm Qmm=mm 9a .,_@m§m:nm
m:no§.nmwma 103 §m mcmum£.

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 68 Of 83. Page|D #Z 2546

mcmv©mm mOm Cmmz.m Tn.mhm

=_,sm §§ _U§,nomm jon ms< umw 3 §§ 3 m Y_§ OIQY, § 5 §§
no§n_§znm. no§n_mm;mm acmm zm:. m_§m<m Immz m¢mnm:m ma 533

UHW@»WH W.,H § w

 

w. §§ b§o§d 1 ._,§m m<mm_m§m 5 jmma_m m nmw,§: gammon

N, gm mm<m§< own §§ wxcmmom mma §m §§c§m$mnmm mc§o§%§ W.

w. Hrm mBO§H odd @mmom§mm w<mmm_u_m msa
3§_@0<<@‘ m<m:m§m 3 §§ 5 §§ BoBm£

P §§ § gm m§oc£ _§~ $Q,mm og._mnm<m_< .,mwmo:m§m § §wm gammon

m. <<:Y ma&mozm_ 505 mo _ mc_,m_\,m:m< Fm<m g wmw§<m 3_< gammon
§__§mm: am..mw$_m§@w 3 §ngy gm §§ chQ§ Q~ m:<mm§ §§
:mmmmwmw< E§_~m rmm§mm 3<¢@: wsm o§m_\m gonna 3m §§

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 69 Of 83. Page|D #Z 2547

>OU_J_.__OZ>~. >mvw@<_mo ._.O@__._m

mbm me:.m_§_ §§ Y,QRQSY _
Lmu§%x b ._,., >:_§§NQQ ma Q,..BB§_.T ,..._ §§ w\©w

 

§§ MW@Y§_~WU Q%E§Sm § §§ §m§.§& wqu § §§ @WQ§S. Qw@§&, §§ &, E@_ w.,w$@
§§ E.w §§ 3 m% §§ am §§ § __.w§m@£ §M§W=_,§… § S§_…W§K §§ BYHWBH g §§
imwa sme ma BQ_W_W§§ §§ gm _Y§§&Br . §§ §q_ amww§_m mmme m§ _Bz%§@§ wm m3
QB§._ §§Ymmw m_% HEHWR_W%§.

m . EE&Q&MW
_,M. §m..… _M_§_m

W §§ §§

L_, _§§§

__,,.W. .…,_>w……w

my mm_£_m§ @£QF W,W,_,N_m __H§_Y § §Uw

w www HY@§ wion §§ §9§_ § § :§EE§,Y; 333

w. O_§,®Y,.m_§ww§x.m§m&. w…_§ § §§ 3me wm £_WE§§_ § 99 Q§@¢. &,, §§
@._ “,M@§§. §§ ,U§

E\_ my .Y§wm»_ …§HZS.@ W§_,W.

.S. §§ §¢…,@§§m §&Q.§& § §§ QE&_, c§@m§ _W_,B, §m®§:§§ § M§§WN§ umw

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 70 Of 83. Page|D #Z 2548

.:._m Cmm Om CZ>W_<_mU m.m.w:Amw

m§_$.m 33 wm m §Em§m..€o_ §§ ms O¢.__,nm_.\w 39 _on.

§ m§,m_§w §§ wm m QQ§A M,§mm_mm § wm m®,mmw§m mgm@m£ §
mw@§ ij§ QY§

§ m@%mm §§ § §§ § §§ gm §§me § K,N_m.§§ § §
m@§m§mmw K§,M wcwm§§§ § m©§,mwmm§ §@§

H w§w@m §§ § §§ § Qm§_mw€ Qmmw§ mm@mm §mw§mmm gm
©Mmmmmw mgm §§ §§qu

§§,w E.@ m §YQ § m§w@m §§ §..Emm mE,Wo@m § O@w§. amc
§§ Hdwm@ §§ §Ema@ §§ §§me m~ow§ §§va §§Emw mmva
§§ ~§x&w H§§D 3 wm§d&.

Hm~m£ E.wmw §§ §@m® wm.m£m §§ §§ mm é@m. wam@ §§ BQEQ@
w§@.§wmwo§§ §§Q:~§ Q~,mm~@w §§ §§ wmnm$§& m mwowwmm@.

MWMKW§W §§ K@H _MWMY§§MW § W WW§W W§YMM§ W
§§@@W §§me _W WNW§H m § MMWW§Y@§ 4 K»§WW

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 71 Of 83. Page|D #Z 2549

 

   

 

 

.I;..VJPH ElH.L O.I. :‘SE*)!¥IH.LS GIWHVNH

 

szLgo"_',\Hg/\oosla_ among

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 72 Of 83. Page|D #Z 2550

   

mg '§i:§c§d
Wz'r%i:z§¢§

   

z)§¢fzwz*§

   
         
   
  
 
  
 

   

wm
§

: 1.§ .\»»»,_“M

z \ `"”`
¢,,,,....m",y wm `-
§ § f \- -¢K».~»MM&._:`_M J,W.-L= "

§ §§ ““~WMW\z/r»¢\ S: '

§ ' x

w §
" *'w¢=w,¢mr*’!

S..!..NBOd ZHHSSJHd NO_WWOJ

 

 

S‘SL§W§
QMW'@§M£§;

"':§;§zii&§ Sz.§_?i §§

       
  
  

“,,,W»MM…WM,MWWMM
,__,.\»M~www_ ,_..»‘-#\""" z

: N. ..,.M
,,,,,¢vé’f"“'\\\www, -- -
»H“¢- = ,V»-¢*
m -%LM,,”).‘

 

  

   
   

.,_¢
x'
,. ._r.,¢»
f `.»A,:ww
W' --»-=-M»n..mw,\,,mmm
*'°‘-W'
&w~.k = 4 \ >»w-“" ' ‘
(_v€,_b_ _ w ,W,,M.U.MMNNU ,MWWM.~M_
343 tr "‘°»W““';X _,,Q;:; *»-+- ~W‘°’"” § "~»»
§ § m
‘“' " . M=w \ =
s %F`:§_`,¢,.Fm"' """““‘».-_M §§ §
;LWWAM -- -. §
».~.»M_Mew”_,,, _”:N,,»M’ »»-»W»nr.»ww

 

 

2551`

07/06/18 73 Of 83. Page|D #Z

37-1 Fi|€d

17-CV-02122-.]G DOC #Z

1:

Case

 

>o.~._oz___mmwvozmm_ 1
ooz_.:zcc

  

_ _ _ _ _ _ _ _ §§_P§§
z¢,_mm§§§ 6 o§§§ _ <33 § §§§ 0§§§

_ _H __ __ _mwooz wagman
<E_E_ 2 __u__.§_§_* U§@Q 33 _ _mw___m§@ ommm_m&§w£
y _Am§m_m,,_._§_w _Ozw_, Gm,.nw~m

§§ UQ§W §§ §§E§§w
_ _c___. Pmmmc$_vc§m
mqm§:m _HE§_@ _Q§Gw

§§ij 5 §3_¢§ ome EQEZ_
ms=mmm Dé_mw 363 meom%_

§§QW §_ maez
mm$m mmm~§z$ _
9 P.=§§. §§

. 6

Yma,,.m OB§,
§QR_E_ §M_WOB_QY
gm @_ __

»»

w§§ §§=HQ§_ §
m_@ww£__zo§

_§m_._,w,=mw$m_m_§_§mmuo=§w_YK§$ _ _ _ _ _ _ __
§§wath E_U§§ QB$,. U§Q€ §§w
<§§§m §§ W.QQSB OBQE _ _ _ _ __

MZU_*<.UCPEM, P_Q.__._”sz O_mm_OmM“m_ wmmm~®zmmm

 

@ cow§m_£_a §§ wm§mm YQ_“§Q,

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 74 Of 83. Page|D #Z 2552

<OC UmQOm_w

“%J
"%3

 

 

 

 

`,_1 1., .. _. y \.»..,.V.~./"§Qr.

,___§B® Sm,u§mn an§w mm.“wuw wm$_

 

_;_W_§__W.,M.B_,.WBF<YEw_m_.m@m?£

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

mCO_l_UlU_mOO<m D<loi who

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CaSe: 1217-CV-O2122-.]G DOC #Z 37-1 Filed: 07/06/18 75 Of 83. Page|D #Z 2553

 

§§ cnm§@g § §§ w@§m Ymm;@__mw@m

w£@r 3_§§@_§§#§ §§ m_§§ o§_§
wmu,w_§ ~p~§xmm_§ m§wmw mw§_ mw$_§§ Y_wn§§w

mm §§ men»_\rmw md.%@m _

mwwww ._B§moé:m wm$% _w§nmm§ §§Eo§
m@_@@ m_“,_o§a. m§§_.§¢om ww@m “§_UQA §an
PBWA mm%§§ E%§§Y _

mm w_wm_ zon_¢o§&mm§ r§%cmmww mwwww § zw_m.$anm §§ m@w:&
wmw£.,_ §§ 3 no§§m§m _ mmw@m § BY.SM§ mi_%:w mm_$§_z

§§ § §m§ m@mm__%
m§wm Q_n mv".§ mwwmm § .m.§ §§
d mmw@x § __,YW,Y §LY wxm

M§.w> __ .m,mm§_ Um§§___ _ wwww,_q _ wm §_w§§§m§ § mw_
mwwww ._M.£Y_. §§ §§ mmme § no§, o§.§m__.§@w_~
mw umwa ,w,$ww m_m§,&mm w@www § §§§m__»§
®…Wwwm _§§M\wm$m w§_§m   _w_www§ § 03_§ QYM__,QW
w§m _W§§R\wm§ Y§_.m§_ __

 

 

 

 

      
  
 

 

 

 

2554

  
 

 

._n.»v~`.,_wm_. ,,‘y._~ w n £. "\. z _ .R....M<_BM;L.,,.)~>

__.W §

_ _ _…_
§de ~,MC T__qm

m
fn
"U
0
}`B
,.q
*§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

W¢%Mu»»;.m),§nu. e,§x.w@

 

 

umw PG%W»H_.G)._ Hm__w.u&. F¢,..¥

 

 

vaw ivan \ws. €v_.v.£...~m

          

 

 

 

07/06/18 76 Of 83. Page|D #

 

§§ng _ §_ anew _, __¥_§H»me… F.__

 

 

 

   

 

 

 

 

 

....m..).mw» mm#n.¢~.. _ 13 u.ml .d¢_,..;n_& zq,_m,.nmww \v..vww. wm¢.._suf;.bn~. __m,]mm nmu
»Nm . NMW.OWM emmwa . N<HW>M,_,_».M A."F.Fm w

 

unm»m_{...ab.m$.v»._éum

    

        

 

.w»,d.,.$.,¢ ?§M

 

mem €~>,~...`W,

37-1 Fi|€d

 

f
a

 

              

 

U J.,~ ~»D. § P.»~H

 

 

 

 

 

 

 

__ §§§m an _mw_£.…w_“_ M__

  

H.&,..~M du mm.-,.m.¢ NH

 

_{l)C

§§ §§ bow

 

§;enz_l_

217-CV-02122-.]G DOC #
!EP*F’E

1
v

 

§§ § 1 .
_ m.»..<._,h.,__»,&»,,ys.r.$.,.__»

 

 

Case
M_

~?.,w ana ,. 5.».

 

_ .KYH.»H u_“,>u§»_§

 

 

 

 

 

 

 

 

 

mcn:c__.c_moo<mm<w§ §

CaSe: 17217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 77 Of 83. Page|D #Z 2555

 

 

      
     

 

 

 

 

 

 
 

   

    

 

 

 

 

 

  

 

 

 

 

§ §§ w»w.§§§ §§
wm B§§Q¢BHB%?H …
M ¢§§§ w§ .
ft
.U.
m
M
rr
PL_“`
_ W_,_
. T.
§
8
n§m»§§§§.m,&n§ M m Q . ..j
RXS.¥£H .
§ .Aaw@§§w¥§ §Q§nm ` . 3 %$§ w .
,...,...E§Z, `
w i§§§$m%%ww§wm n … y . , z , d
R , m .. m §
_ § .v . , . ..
w § , , j
mm _ g ,
\au § ..r T,
. m,:.l¢.§h»§§w. . ¢A§....» §»u»jv»$. ~.»Enwww,w»,a&§m.§.
. . §§ §§ . § 49
.. _ _ §§ §.,~ §»..…\....EY_

 

 

 

 

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 78 Of 83. Page|D #Z 2556

 

>mjncwbjzm J.Im w>g.m

W§N_§,,.m,§ §m _Em§mm _. §

 

125 §M.Bm<@ g § H@…Uom wwo_&m @BB man monqu o%
§§ @§omw ooo:§@@. wa Cm@ o,… mowow mo§m BW,WY m
mWN: aggme 5 §m§@ § S…@HE §@ wm§mm<@ §@Hr@w.

dmmww 25 m §§ nw m

§EO 1 ¢<wo w§omw §§ §§?@Q § mgm HQEQR…. §§ H.,.:&cm@w o§,@§
§§ §§ §§ §§ Ed§@ § §§ mm §§ § BUQBBE § §§ §§
&RR€ §<QH<@@.

§~E~H 1 §SB § §sz wyman U@§@§ §§ §§ 25 mcw@@§ mm §§ mm
2me § mome am 333 §§ § §§ m§,@. dam r@…@w @§§m 23 Em§$\
am momom“ mmxac§@mm cm § KEBQOP 99

§UEWH l §§me gmcme §§ @<@Q_ E@o@ 31 §§ §on 333 ©En@ gm
saw m£_mwm §H md §§ 5 Ho$. _mmwr :_o__“~$w QOELHQV 29

§sz 1 mww§…: §§ ~,MB@HBB.@ oH. @<@Em §§ mangum g §§ mmm@@§
§§_.§\ 1 …CB §§ Eom<@w o.m § mmm@@£ § §cém. C…mm @mew 34 §§ §§
€@B guam 3 ao §§ §§ ma 3 §§ %mwn@ §§ m,nmomw

E©§ 1 mode §§ §§ w§m§ man ¢§§ @§QE 1563 §cw@ mm.mo§. §§

_~_.§:m.@m §_E,.@ m£mm_w _.§mm cwa EOH EA@. @,J.@ww_m$m.:

   

lc__m;no<mm,,\l§,w.@@

2557

07/06/18 79 Of 83. Page|D #Z

37-1 Fi|€d

17-CV-02122-.]G DOC #Z

1:

Case

>z.:nc_.>:zm .Zm _...>QG
`W§.….RC.……_ _~ .… H,Tm »MU.NGHE_,D…… _

mm§&w § @@Bw, §§ §§ mcmw@o§& ama 5 EWWK OBQQD

 

 

 

 

…v»\

mco:c\@_mno

    

<mm.<l§m§

 

CaSe: 1217-CV-021'22-.]G DOC #Z 37-1 Filed: 07/06/18 80 Of 83. Page|D #Z 2558

 

dw.:h€w>.m.wzm .:.wm wdg.m

,WYm/,W»…..HZ,Q @Im w…,@w…§…m_m

 

wwmasssz". --

m_w§w…§ wm a@§m $SE momoww §§ _OEQ@A& ma 3 QQE@K

, now mcmm@£m& momonm mm inc mm go H@mw©m§m U@w§@ §@§.

mm wmme EUQQHQ KQMQQBMWM KK_YM § _Wm §§m§&m §YK@ §§
§§ § ,QYHYF § §§ §m §§ §§ § QRY § §§M§mq §m,w:

§ §§me §§ ®QM,§ M..m&..mm §§ mcwmm%w mm&mm~_ §§ §§ §-KQ. mr QQ;G§
§Qm§mm§ §§_W. Q§~mw wm YQEM§W §§,¢

§§ wm.§m§ QMY§HHQ § max § mm.: Q§mww§§ §m §§ wmm§
Hm§_nm 3 m…w L@H. Y§m § m§…, @§Qw. m m§mmcmm § §§ §§. <Yd%_
§§§§mw § _QQ§,QE §§ wm mwm@ §\ §mmw § Q§»_mw 3 QQK §Q§mm§§
m@§mm§mm §§ W.,§mmm_m§w§§.:

§§m w§§%, §m§m, QQ®§§§Q §~§§` §w §Q »mw:_w§ mm §§me

M\§w §W.~ m§w‘x§m §§§QHQM § H®m» M. QQYWQ m§\%_mw §§ w§wm§ § Ym

WMH wm §m§§, § §§ §§ §§ Q§Y mwmmm.

sm m&m§m£§ § wmqu §_m mzmmmmw § M..wm @_YY§@ mw ~….Y §Y¥ mm
M

§§,§m§ § §w Q§Qw W,Q§ umw § wm R§§ §§ § § Y,§§w H§% §§
§§ § §m_ Q§§H § §,m§m% §§ w§§ QYY§& ma §§ §QK.@

   

mCG_¢_UlU~mOO<mD<lO.E mmm

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 81 Of 83. Page|D #Z 2559

>x.:nC _.>.: Zm HI m mbn.wm

 

¢

mem H@m…@§@ 05 <_H@o Bom@. mo§£§@m» x §m_ .@&E w S§E
@_EE,_@§ @Wa§@ o@om§@ § § gmng § @§_…E.® @_<Q.§Ewm.

\\

w§,,mm awm@§§ §§ gm §§Qm rmm, mg §§ :mmmwm
H§,_@ EQ§§§§ §§ m®xm§§§ m M,§§m w§m.§

..Q

§m §§.__QQ Q_m€ ga gm §§m_§§ wme
§§ mm §Ym YY§§` m M_§W.@ ww§‘§

 

ngasz c:m<m§`_..< QIHY xm< ._.m:mm:m ,_,__.m§n wang <_Emo
F_W_W_mm&§§§_._<amdcv@no§>§§&§m£…W§.Nmmauw
gman H@§§Um me§§w §§ §§ § imm §mm@a

g §§ §E…B@ mg §@ §§ §§ mm QQ_QE mg 3 mo
§§ 5 §§ m v§a §§ 8 §§ m3 §EB¢.

 

   

mCOEUlU

  

w
_mOO<m

CaSe: 1217-CV-02122-.]G DOC #Z 37-1 Filed: 07/06/18 82 Of 83. Page|D #Z 2560

MOZQ.C£OZ

§§ wmx§ § …N§.M§BQ

 

mm _,,m§w:@,w §§ 05 cm@ 2d mo§@ ve=n<. x wm <Ocm. Bmu§m§_x<

5 _30<< §§ <<m §§ msa 334 go 9. <§K <<m 33 §§ §§J :mm.
m§< nc_\q.mzd 03 <Qc_\ mmwm §§ §§Qm§m:a,<§m@ mdm$@_m~d_m F.m<@
wm.®ma< §§ mmd §§ _30§ darme 3 mo m <0§ §§ Qcmmmozm.

mJ< 333mech §§ >_._. o.$. §._m H_oo_m <oc §§ m<m:wc_m 3 umw §
m mos?o;§§oz l mmum&_m=< iamle §mnmm,._m§ mg mmq<wmmm§§<,

§m_@%.m <oZ.wm:n 333 H_mnsz_.mw_m< msa §“,.ocmr UF<AS_ S;&_:o:w;m
3 ?.§%m mm€mmo§ 03 gm R_,mm.m §§ wsm muw__,o§,§m _m<m_ o+. §§
:memQ 3 q.mmo*<w gm m§m_:e: §§ 3 §§ <ocwwmd,.m.

§_Am M:md§m_ S_n_mmz< §§pr 15 EQE$: own gm m<m§m §§ omni
Qc§m ms ms§§¢m~,. m§_m§ §§ m§mm § @m§: §§ mc§c_m£ §_w
mmnmm§< 335 mm wm£§§_< mm womm§m.

©03# agng 05 <Emo 3 Mm: gm mHoE. _<JJ< ABYW iava mms
§§ m am_j“@,m§ §mmm §m;_§m BM_W< 3 §§ §:§0:.

   

,_.u w.l@”mwo<mm<l@§

CaSe: 1217-CV-02122-JG DOC #Z 37-1 Filed: 07/06/18 83 Of 83.

Page|D #: 2561

